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               10
                                          UNITED STATES DISTRICT COURT
               11
                                         CENTRAL DISTRICT OF CALIFORNIA
               12
               13
                        MASIMO CORPORATION,                     CASE NO. 8:24-CV-1568
               14
                                      Plaintiff,     VERIFIED COMPLAINT FOR
               15                                    VIOLATIONS OF THE FEDERAL
                             v.
               16                                    SECURITIES LAWS, BREACHES OF
                        POLITAN CAPITAL              FIDUCIARY DUTY, AND BREACH OF
               17       MANAGEMENT LP, POLITAN
                        CAPITAL MANAGEMENT GP LLC, CONTRACT
               18       POLITAN CAPITAL PARTNERS GP
                        LLC, POLITAN CAPITAL NY LLC,
               19       POLITAN INTERMEDIATE LTD.,
                        POLITAN CAPITAL PARTNERS       DEMAND FOR JURY TRIAL
               20       MASTER FUND LP, POLITAN
                        CAPITAL PARTNERS LP, POLITAN
               21       CAPITAL OFFSHORE PARTNERS
                        LP, QUENTIN KOFFEY, MICHELLE
               22       BRENNAN, MATTHEW HALL,
                        AARON KAPITO, WILLIAM
               23       JELLISON, DARLENE SOLOMON,
               24                     Defendant(s).
               25
               26
               27
               28
                                                                     VERIFIED COMPLAINT FOR VIOLATIONS OF
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 ORANGE COUN TY
                                                                                 FEDERAL SECURITIES LAWS
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                    1        Plaintiff Masimo Corporation (“Masimo” or the “Company”) brings this
                    2 complaint against Defendants Politan Capital Management LP (“Politan”), Politan
                    3 Capital Management GP LLC, Politan Capital Partners GP LLC, Politan Capital
                    4 NY LLC, Politan Intermediate Ltd., Politan Capital Partners Master Fund LP,
                    5 Politan Capital Partners LP, Politan Capital Offshore Partners LP (collectively, the
                    6 “Politan Funds”), William Jellison and Darlene Solomon (the “Nominee
                    7 Defendants”), Quentin Koffey and Michelle Brennan (the “Politan Directors”),
                    8 Matthew Hall, and Aaron Kapito (together, “Defendants”).
                    9                           I.    NATURE OF THE CASE
               10            1.     This case arises out of a battle for control of Southern California-
               11 based, multi-billion-dollar health technology company Masimo. On one side is
               12 Masimo and its management, led by the Company’s inspirational founder,
               13 Chairman, and CEO, Joe Kiani. On the other side is Politan, a New York hedge
               14 fund led by Quentin Koffey, its avaricious founder and activist investor, who has
               15 been “waging war” for the last two years against Masimo in an attempt to
               16 improperly gain control of the Company through lies and deceit.
               17            2.     Koffey is desperate to take control of Masimo at any cost, for personal
               18 gain and to the ultimate detriment of the Company and long-term stockholder
               19 value—using lies, misrepresentations, mischaracterizations, and deceit, as well as
               20 misusing confidential Company information he gained from inside the Masimo
               21 boardroom itself. And it appears to be working. Voting has already begun and in
               22 just the past few days, both Glass Lewis and ISS, two proxy advisory firms, have
               23 advised Masimo stockholders to vote their proxies for the Nominee Defendants,
               24 citing Defendants’ lies as the truth.
               25            3.     Mr. Kiani founded Masimo in his Orange County garage in 1989.
               26 Since then, Masimo has grown into a leading health technology and consumer
               27 electronics company that employs nearly 8,000 people in California and around the
               28 world and generates $2 billion in revenues per year. Masimo manufactures life-

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                    1 saving patient monitoring devices and technologies, including non-invasive
                    2 sensors, patient management tools, and telehealth platforms. It is most famous for
                    3 its revolutionary, life-saving pulse oximetry monitoring technology. Since going
                    4 public in 2007, Masimo has year after year delivered an average annual revenue
                    5 growth rate of 12%, which is more than double the market growth rate.
                    6        4.     In 2022, Koffey set his sights on Masimo. Koffey believed Masimo’s
                    7 stock price was temporarily depressed following its announcement that it planned
                    8 to acquire a consumer electronics company. Politan surreptitiously acquired a
                    9 stake of over 8%. Koffey then demanded representation on Masimo’s Board of
               10 Directors (the “Board”).
               11            5.     Masimo was rightfully concerned about acquiescing to Koffey’s
               12 demands for these Board seats, given that Koffey (i) refused to disclose his
               13 intentions and backers and (ii) has a demonstrated record of value destruction at
               14 the companies he targets. Koffey and Politan have launched successful proxy
               15 contests against Centene Corporation and Azenta Life Sciences, both of which
               16 have underperformed the S&P 500 since Koffey came onto the scene. When
               17 Masimo refused to gift Board seats to Koffey, he vowed to “wage war” on Masimo
               18 and Mr. Kiani.
               19            6.     In 2023, Politan nominated Koffey and Defendant Michelle Brennan
               20 to serve on Masimo’s Board. Masimo’s Board then had six directors, serving
               21 three-year terms. Only two directors were up for reelection that year. Koffey
               22 represented both publicly to Masimo’s stockholders and privately to Masimo that
               23 he had no intention of trying to take control of Masimo and claimed that he wanted
               24 to work with Mr. Kiani. Indeed, pushing out Mr. Kiani, the driving force behind
               25 Masimo’s success since its inception, would have been catastrophic.
               26            7.     Koffey and Brennan stood for election based on these and other
               27 falsehoods, and under the auspices of minority voice in the boardroom were
               28 elected. In this way, Koffey and Politan took control of two out of Masimo’s six
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                    1 board seats. And while Koffey represented to Masimo and its stockholders that he
                    2 would stop there, he did not.
                    3         8.    Mr. Kiani and the other members of the Board took Koffey at his
                    4 word that he would work in the best interests of Masimo and its stockholders, and
                    5 not for his own personal interests. So Mr. Kiani, the other directors, and the
                    6 Masimo management team welcomed Koffey and Brennan to the Board. They
                    7 provided Koffey and Brennan with extensive information through a weeks’-long
                    8 onboarding process.
                    9         9.    Little did Mr. Kiani and the others know, Koffey and Brennan had no
               10 intention of fulfilling their duties as directors. Despite the Masimo management
               11 team’s efforts to bring the new directors up to speed and engage them in Board
               12 discussions and decisions, it quickly became clear that they had no intention of
               13 working toward maximizing value for stockholders or participating meaningfully
               14 in corporate governance at all.
               15             10.   Since being elected, neither Koffey nor Brennan has ever proposed a
               16 single concrete step (let alone a plan) to maximize long-term stockholder value.
               17 Instead, Koffey and Brennan embarked on a value-wrecking campaign to take over
               18 Masimo in 2024 without paying a control premium to all of Masimo’s
               19 stockholders. Accordingly, they purposefully buried their heads in the sand,
               20 refused to educate themselves on Masimo’s financial information, refused to
               21 engage with Masimo’s outside auditors, refused to approve and sign Masimo’s
               22 periodic filings with the Securities and Exchange Commission (“SEC”), and
               23 falsely claimed that they had not been provided with important financial
               24 information—all in an effort to undermine the Company’s credibility with
               25 investors and at the risk of jeopardizing timely SEC filings which (if successful)
               26 would have led to a stock price drop and a significant loss of stockholder value.
               27             11.   That was not enough. In a private meeting, Mr. Kiani proposed to
               28 Koffey spinning off Masimo’s consumer products business (the “Consumer
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                    1 Products Business”). Koffey initially supported the idea and sent Mr. Kiani a term
                    2 sheet for the proposed deal. In February 2024, the Board set up an independent
                    3 committee to oversee the proposed spin-off—which Koffey would chair. Koffey
                    4 proceeded to undermine the spin-off process by intentionally withholding
                    5 information from other committee members and demanding new terms that made
                    6 the spin-off untenable. Koffey successfully tanked the deal and has blamed Mr.
                    7 Kiani for the entire process, based on falsehoods.
                    8        12.    While the spin-off process was dying thanks to Koffey’s efforts,
                    9 Masimo’s management received an offer from a third-party (the “Potential Joint
               10 Venture Partner”) to buy the majority of the consumer business (the “Potential
               11 Joint Venture”). Together, Masimo’s management and non-Politan Board
               12 members decided to move forward with plans to separate the consumer business
               13 from Masimo’s legacy healthcare business. Masimo announced this plan to the
               14 market on Friday, March 22, 2024, and the stock price spiked 14% in after-hours
               15 trading on the news. This stock price increase ran counter to Koffey’s efforts to
               16 gain control of Masimo. The separation proposal was highly favorable for both
               17 Masimo and its stockholders. It would have given Masimo the ability to sell 70-
               18 85% of its Consumer Product Business at an attractive price, while paying down
               19 debt and providing stockholders with some residual ownership in the consumer
               20 business. But a successful joint venture would undermine Koffey’s efforts to take
               21 control of the Company, so he refused to support the Potential Joint Venture and
               22 demanded to delay any decision on the Potential Joint Venture until after the
               23 annual stockholder meeting and election. Koffey once again sabotaged Masimo’s
               24 share price gains by announcing—on the very next business day—that he would
               25 nominate two so-called “independent” candidates for Masimo’s Board and
               26 disparaging Mr. Kiani and the rest of the Board. Koffey also claimed—without
               27 basis—that any separation of its Consumer Products Business done by Masimo’s
               28
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                    1 management and the non-Politan Board members would be fraught with self-
                    2 dealings and would damage Masimo.
                    3         13.      Now, Koffey and Politan look to complete their overthrow attempt by
                    4 launching their second proxy contest in as many years, this time seeking full
                    5 control over Masimo, without regard to the harm to stockholders. Koffey has gone
                    6 so far as to secretly collaborate with plaintiffs’ lawyers that have brought and are
                    7 currently pursuing litigation against Masimo’s Board—all the while with full
                    8 inside knowledge of Masimo’s confidential information given Koffey’s position on
                    9 the Board — thereby jeopardizing Masimo’s position in this and related litigation
               10 in a blatant breach of his fiduciary obligations to Masimo and its stockholders.
               11             14.      If successful, Koffey will have realized his goal of taking control of
               12 Masimo: his hedge fund will have appointed four of the six directors, and Koffey
               13 will thus be able to direct Masimo as he pleases without the payment of a control
               14 premium to the stockholders. Politan’s claims that it did not seek to control
               15 Masimo have been exposed as lies. If Koffey succeeds in taking control based on
               16 these and the many other lies outlined herein, he will be empowered to dismantle
               17 Masimo in any form or fashion he wishes.
               18             15.      Defendants’ lies and half-truths violate Section 14(a) and Rule 14a-9
               19 of the Securities Exchange Act of 1934. The Politan Proxy Materials, as defined
               20 infra at Section IV.H, contain a litany of actionable false and misleading
               21 statements and omissions including with respect to:
               22                    Concealing Koffey’s secret relationship with plaintiffs’ counsel in an
               23                      action proceeding against Masimo’s Board;
               24                    Misrepresenting the proposed spin-off of the Consumer Products
               25                      Business and the special committee overseeing that potential
               26                      transaction;
               27                    Misrepresenting the Potential Joint Venture, including false claims
               28                      that the Potential Joint Venture would personally benefit Mr. Kiani;
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                    1            Falsely claiming that Masimo will not owe Mr. Kiani 2.7 million
                    2              restricted stock units (“RSUs”) under the operative change-in-control
                    3              provisions if Mr. Kiani is not reelected to the Board;
                    4            Mischaracterizing the information Masimo and its management
                    5              provided the Politan Directors during their tenure on the Board,
                    6              including how that information relates to the Politan Directors’ refusal
                    7              to approve and sign any of Masimo’s quarterly or annual reports since
                    8              joining the Board; and
                    9            Misstating the Board’s grant of authority to management in
               10                  connection with a potential sale of the Company.
               11         16.      Defendants’ actions violate Article I of Masimo’s Fifth Amended and
               12 Restated Bylaws, dated as of February 5, 2023 (the “Bylaws”), which requires that
               13 nominees make all disclosures required by Section 14(a).
               14         17.      Koffey and Brennan have violated their fiduciary duties, including
               15 their duty of loyalty and care by, among other things:
               16                Aiding plaintiffs’ counsel in litigation against Masimo’s Board;
               17                Consciously disregarding and refusing to perform their duties as
               18                  directors;
               19                Issuing false and misleading proxy materials;
               20                Sabotaging the very spin-off deal Koffey proposed for Masimo’s
               21                  Consumer Products Business;
               22                Interfering with the potentially value-maximizing joint venture by
               23                  refusing to consider or support the Potential Joint Venture until after
               24                  the annual meeting, presumably to prevent Masimo from negotiating a
               25                  favorable deal that might harm the Politan election changes; and
               26                Using Masimo’s confidential information they learned as Board
               27                  members to serve their own personal interests in the proxy contest.
               28
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                    1         18.   Masimo now has no choice but to seek the Court’s intervention to set
                    2 the record straight and prevent irreparable harm to the Company and its
                    3 stockholders. Without immediate intervention, Koffey will take control of Masimo
                    4 through lies and deceit, only to destroy the value that Mr. Kiani and others have
                    5 spent decades building for the benefit of all stockholders.
                    6         19.   Plaintiff seeks the following relief: (1) an order declaring that the
                    7 Politan Proxy Materials on Schedule 14A and all amendments violate Section
                    8 14(a) of the Securities Exchange Act, and Rules 14a-9, 14a-12, and 14a-101; (2) an
                    9 order declaring the Nomination Notice (defined below) does not comply with
               10 Masimo’s Bylaws; (3) an order enjoining Defendants from voting any proxies
               11 received by means of the misleading Politan Proxy Materials; (4) an order
               12 invalidating any proxies Defendants or other persons acting in concert with them
               13 obtained pursuant to the misleading Politan Proxy Materials; and (5) an order
               14 requiring Defendants to correct their material misstatements and omissions, and to
               15 furnish accurate disclosures required by law before the annual stockholder
               16 meeting.
               17             20.   Masimo further seeks relief against Koffey and Brennan for violating
               18 their fiduciary duties under Delaware law. When they were elected to Masimo’s
               19 Board, Koffey and Brennan assumed a fiduciary duty to serve Masimo and all of
               20 Masimo’s stockholders — not just Politan. Instead, they have cast aside their
               21 fiduciary obligation in their single-minded pursuit of control of Masimo. Koffey’s
               22 sole focus over the past year at Masimo has been to position himself better for this
               23 year’s proxy fight, by which he hopes to take control of the Company. And the
               24 effect of his takeover campaign will not only be to harm the Company by
               25 removing its founder and CEO — an outcome that even Koffey realizes would be
               26 catastrophic — but to deliver control into the hands of a New York hedge fund
               27 without the payment of a control premium to all of Masimo’s stockholders.
               28
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                    1        21.    The immediate relief that Masimo seeks is the most limited available
                    2 under the circumstances: corrections to Politan’s false and misleading proxy
                    3 materials so that stockholders can cast an informed vote.
                    4                                II.   THE PARTIES
                    5        22.    Plaintiff Masimo is a publicly traded Delaware corporation. It is
                    6 headquartered at 52 Discovery, Irvine, California 92618.
                    7        23.    Defendant Politan is a Delaware limited partnership formed in 2021
                    8 with its principal place of business at 106 West 56th Street, 10th Floor, New York,
                    9 New York 10019. Politan serves as an investment advisor to certain affiliated
               10 funds, including Politan Capital Offshore Partners LP, Politan Capital Partners LP,
               11 and Politan Capital Partners Master Fund LP. Koffey is the Managing Partner and
               12 Chief Information Officer of Politan.
               13            24.    Defendant Politan Capital Management GP LLC is a Delaware
               14 limited liability company with its principal place of business at 106 West 56th
               15 Street, 10th Floor, New York, New York 10019. The principal business of Politan
               16 Capital Management GP LLC is to serve as the general partner of certain affiliated
               17 funds including the Politan Funds.
               18            25.    Defendant Politan Capital Partners GP LLC is a Delaware limited
               19 liability company with its principal place of business at 106 West 56th Street, 10th
               20 Floor, New York, New York 10019.
               21            26.    Defendant Politan Capital NY LLC is a New York limited liability
               22 company and is the “record stockholder” that holds shares in Masimo. Politan
               23 Capital NY LLC’s principal business is to invest in securities and serve as record
               24 holder of shares of companies in which the Politan Funds invest. Politan Capital
               25 NY LLC’s principal place of business is at 106 West 56th Street, 10th Floor, New
               26 York, New York 10019.
               27            27.    Defendant Politan Intermediate Ltd. is an exempted company
               28 organized under the laws of the Cayman Islands with its principal place of business
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                    1 at 106 West 56th Street, 10th Floor, New York, New York 10019. The principal
                    2 business of Politan Intermediate Ltd. is to invest in securities.
                    3         28.   Defendant Politan Capital Partners Master Fund LP is an exempted
                    4 limited partnership organized under the laws of the Cayman Islands with its
                    5 principal place of business at 106 West 56th Street, 10th Floor, New York, New
                    6 York 10019. The principal business of Politan Capital Partners Master Fund LP is
                    7 to invest in securities.
                    8         29.   Defendant Politan Capital Partners LP is a Delaware limited
                    9 partnership with its principal place of business at 106 West 56th Street, 10th Floor,
               10 New York, New York 10019. The principal business of Politan Capital Partners
               11 LP is to invest in securities.
               12             30.   Defendant Politan Capital Offshore Partners LP is an exempted
               13 company organized under the laws of the Cayman Islands with its principal place
               14 of business at 106 West 56th Street, 10th Floor, New York, New York 10019. The
               15 principal business of Politan Capital Offshore Partners LP is to invest in securities.
               16             31.   Defendant Matthew Hall is a Politan investment analyst. His
               17 principal business address is 106 West 56th Street, 10th Floor, New York, New
               18 York 10019.
               19             32.   Defendant Aaron Kapito is a Politan investment analyst. His principal
               20 business address is 106 West 56th Street, 10th Floor, New York, New York 10019.
               21             33.   Defendant Quentin Koffey is the Managing Partner and Chief
               22 Investment Officer of Politan and the Managing Member of Politan Capital
               23 Management GP and Politan Capital Partners GP. His principal business address
               24 is 106 West 56th Street, 10th Floor, New York, New York 10019. Koffey is a
               25 member of Masimo’s Board and was appointed in June 2023. Koffey is a member
               26 of the Audit Committee.
               27
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                    1         34.   Defendant Michelle Brennan resides in Spearfish, South Dakota.
                    2 Brennan was a Politan nominee to Masimo’s Board and was appointed in June
                    3 2023.
                    4         35.   Politan holds approximately 8.9% of the outstanding shares of
                    5 Masimo’s Common Stock, based on 53,085,556 shares of Common Stock
                    6 outstanding as of March 30, 2024, as reported in the Company’s Q1 2024 10-Q.
                    7         36.   Defendant William Jellison is a Politan nominee to the Masimo
                    8 Board. His principal business address is 9946 W. Gull Lake Drive, Richland,
                    9 Michigan 49083.
               10             37.   Defendant Darlene Solomon is a Politan nominee to the Masimo
               11 Board. Her principal business address is 17 Valley Oak, Portola Valley, California
               12 94028.
               13                            III.   JURISDICTION AND VENUE
               14             38.   This action arises under Section 14(a) of the Securities Exchange Act
               15 of 1934, 15 U.S.C. §§ 78 m(d), 78n(a), the rules and regulations promulgated
               16 thereunder, and common law.
               17             39.   This Court has jurisdiction over the subject matter of this action based
               18 on 28 U.S.C. § 1331 and Section 27 of the Securities Exchange Act of 1934, as
               19 amended, 15 U.S.C. § 78aa.
               20             40.   This Court has personal jurisdiction over the Defendants because each
               21 of them has sufficient minimum contacts in the State of California to satisfy
               22 California’s long-arm statute and constitutional due process requirements as
               23 Defendants are soliciting the votes of stockholders of Masimo, which is
               24 headquartered in California.
               25             41.   Venue in this District is proper pursuant to 28 U.S.C. § 1391 and
               26 Section 27 of the Securities Exchange Act of 1934, as amended, 15 U.S.C. § 78aa,
               27 because various acts or transactions constituting the offenses herein occurred
               28 within the Central District of California. Among other things, (i) the misleading
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                    1 Politan Proxy Materials were transmitted to and received by Masimo whose
                    2 headquarters and principal place of business is in this District, (ii) the misleading
                    3 Politan Proxy Materials were filed with the SEC in anticipation and for the purpose
                    4 of their distribution to Masimo’s stockholders, including stockholders located
                    5 within this District, in order to obtain proxies to be used at Masimo’s 2024 Annual
                    6 Meeting, and (iii) the 2024 Annual Meeting currently will be hosted from
                    7 Masimo’s headquarters, which are located within this District.
                    8                          IV.   FACTUAL BACKGROUND
                    9         A.    Under Joe Kiani’s Leadership, Masimo Stockholders Have
                                    Benefitted From Its Legacy of Innovation and Historically Strong
               10                   Financial Performance
               11             42.   Masimo is a medical technology company based in Irvine, California
               12 that develops, manufactures, and markets non-invasive health monitoring
               13 technologies. Masimo has been publicly traded since its initial public offering on
               14 the NASDAQ stock exchange on August 8, 2007.
               15       43. Masimo was a garage start-up founded in 1989 by Mr. Kiani in
               16 Mission Viejo, California, who sought to solve a pulse-oximetry problem experts
               17 thought was unsolvable. Masimo solved the problem by inventing Signal
               18 Extraction Technology (“SET”), which enables non-invasive measurement of a
               19 patient’s pulse and blood-oxygen saturation even during patient motion and low
               20 blood flow. Masimo’s market-leading SET allows clinicians to detect life-
               21 threatening events, reduce blindness in premature babies, prevent deaths in general
               22 care environments, and reduce deaths after surgery. Masimo manufactures and
               23 sells pulse oximeters that professional caregivers use to monitor over 200 million
               24 patients a year.
               25       44. Beyond pulse-oximetry, Masimo offers additional noninvasive
               26 measurement technologies, including patient wearable devices that have enabled a
               27 host of hospital automation and telehealth medical monitoring solutions.
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                    1         45.   Masimo’s market-leading position has driven strong financial results.
                    2 Since going public in 2007, Masimo has delivered average annual revenue growth
                    3 of 12%, which is more than double the rate of market growth.
                    4         46.   As Masimo developed new technologies for healthcare providers to
                    5 improve patient outcomes, it also sought to expand its business into the home.
                    6 Masimo had traditionally sold products to hospitals, physicians’ offices, and long-
                    7 term care facilities, and lacked a distribution network to sell consumer products.
                    8 Before entering the consumer market, Masimo considered building its own
                    9 distribution channel or buying companies that had existing networks. Ultimately,
               10 at the recommendation of its independent Board members, Masimo decided to buy
               11 Sound United, a company that sold and distributed premium audio products to
               12 consumers around the world.
               13             47.   Sound United had extensive consumer relationships and distribution
               14 expertise, which Masimo planned to leverage to accelerate distribution of the
               15 Masimo’s expanding portfolio of consumer-focused products such as baby
               16 monitors, smart bands, smart watches, ear buds, hearing aids, and headphones.
               17             48.   Some investors questioned this strategic decision. But Masimo
               18 believed Sound United had what Masimo lacked and needed.
               19             B.    Masimo’s Other Independent Directors—Craig Reynolds and
                                    Robert Chapek—Are Highly Qualified and Committed to
               20                   Delivering Long-Term Value for Stockholders
               21             49.   Masimo’s Board is comprised of five members: Joe Kiani, Craig
               22 Reynolds, Robert Chapek, Quentin Koffey, and Michelle Brennan. The sixth and
               23 seventh board seats are vacant due to two recent resignations. One of the Board
               24 seats will be filled at the upcoming annual meeting. Masimo has nominated
               25 Christoper Chavez for the seat.
               26             50.   Mr. Kiani has been on the Board since 1989. He is listed on over 500
               27 patents and patent applications in signal processing, sensors, and patient
               28 monitoring, which have been fundamental to Masimo’s ability to innovate and
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                    1 differentiate itself from competitors. No one understands Masimo’s history,
                    2 culture, and technology better than he does. His impact on Masimo’s technology
                    3 and market position is second to none and cannot be overstated.
                    4        51.   Mr. Reynolds is Masimo’s Lead Independent Director. He brings
                    5 over three decades of experience in the healthcare and medical device industry and
                    6 possesses a deep understanding of industrial management, strategy, and medical
                    7 device products. He has a wealth of experience in medical device products, which
                    8 he developed through leadership positions at a wide variety of medical device
                    9 companies including Cereve, Healthdyne, and Phillips-Respironics Home Health
               10 Solutions. His medical device experience is complemented by his board
               11 experience, having served as a director of Vapotherm, Symmetry Surgical,
               12 Symmetry Medical, and Respironics.
               13            52.   Mr. Chapek joined the Board in 2024. He brings to Masimo’s Board
               14 a rich background in the media and consumer industry, with nearly three decades
               15 of experience including his role as CEO of The Walt Disney Company from 2020
               16 to 2022. His leadership roles at Disney, including his previous positions
               17 overseeing Disney Parks, Experiences, and Products and Disney Consumer
               18 Products, have provided him with a deep understanding of global operations and
               19 consumer engagement. Mr. Chapek’s insights into consumer behavior and market
               20 dynamics are particularly valuable as Masimo continues to expand its consumer
               21 health technologies and seeks to engage with a broader consumer audience.
               22            53.   Mr. Chavez, a current nominee, is similarly qualified in the medical
               23 device industry. He is the former CEO and President of TriVascular, the former
               24 President of St. Jude Medical, and the former CEO and President of Advanced
               25 Neuromodulation Systems. Mr. Chavez also served as the Chairman of the
               26 Medical Device Manufacturers Association. He has over thirty years of experience
               27 with medical devices and has a strong understanding of the healthcare industry and
               28 its operations.
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                    1         C.     Koffey and Politan Launched a “War” on Masimo and Mr. Kiani
                                     With the Ultimate Goal of Taking Control of the Company
                    2
                              54.    The remaining members of the Masimo Board—Quentin Koffey and
                    3
                        Michelle Brennan—were elected during the 2023 annual stockholder meeting,
                    4
                        after a contentious proxy fight.
                    5
                              55.    While Brennan has some medical device industry experience, Koffey
                    6
                        does not. Koffey, who describes himself as a “veteran activist,” founded Politan in
                    7
                        2021 and serves as its Managing Partner and Chief Investment Officer. Before
                    8
                        founding Politan, Koffey was a partner or portfolio manager at several well-known
                    9
                        activist investment firms and hedge funds, including Elliott Management, D.E.
               10
                        Shaw (where he led activist campaigns against Lowe’s Companies and Bunge
               11
                        Ltd.), and the Senator Investment Group (as the head of the firm’s activism
               12
                        strategy). Koffey has never held a senior management position at any medical or
               13
                        consumer technology company (or any public company), has no prior investment
               14
                        experience in the medical device industry, and had no public company board
               15
                        experience before joining Masimo’s Board in 2023. In connection with the prior
               16
                        proxy contest, he sued the Company and its current and former directors, an action
               17
                        taken in support of his long-term goal of gaining control of Masimo.
               18
                              56.    Politan and Koffey are well known for seeking corporate shake-ups at
               19
                        companies in which they invest, often at the expense of long-term stockholder
               20
                        value. For instance, Politan made headlines in late 2021 when its campaign for
               21
                        board seats at Centene, a publicly traded managed care company, resulted in the
               22
                        appointment of five new directors and resignation of the company’s CEO and
               23
                        founder. Politan’s activism at Centene did not translate into success for the
               24
                        business. Since Koffey implemented these changes, Centene has consistently
               25
                        underperformed the S&P 500. Further, before Koffey intervened at the end of
               26
                        2021, Centene’s revenue had grown from approximately $75 billion in 2019 to
               27
                        approximately $126 billion in 2021. After Koffey’s activist campaign, Centene
               28
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                    1 announced that it incurred a $172 million loss in the second quarter of 2022 and
                    2 that it would be forced to divest certain international business units.
                    3         57.   Koffey also targeted Azenta, a biotechnology company based in
                    4 Massachusetts. After Politan disclosed in November 2023 that it nominated a
                    5 director candidate and entered into a non-disclosure agreement with Azenta, the
                    6 company added two directors following dialogue with Politan, and Politan
                    7 withdrew its nomination. Since those directors joined the Board, Azenta’s CEO
                    8 announced his retirement, and the stock has underperformed the S&P 500.
                    9         58.    Koffey operates with control as his clear agenda: in all but one of his
               10 past campaigns, the CEO has been replaced within one year of the campaign.
               11             59.   Koffey launched his campaign to take control of Masimo on August
               12 16, 2022, when Politan disclosed it had begun amassing an ownership stake in
               13 Masimo. Politan’s Schedule 13D filing that day revealed it had acquired beneficial
               14 ownership of approximately 4.4 million shares—amounting to 8.4% of Masimo’s
               15 outstanding common stock. That ownership percentage later increased to 8.8% by
               16 September 27, 2022. That ownership position has since risen through purchases of
               17 other securities, including swaps.
               18             60.   Koffey’s intentions became clear. Activism news source, The 13D
               19 Monitor, published an article the same day—August 16, 2022—reporting
               20 (presumably, based on information planted by Politan and Koffey) that Politan
               21 would “work quietly and behind the scenes” with Masimo “to try to get one or two
               22 seats on the Board,” but that if Masimo “does not settle, Politan … will … go
               23 multiple years and multiple proxy fights if that is what is necessary.”
               24             61.   Koffey sought a meeting with Masimo’s management team, a request
               25 which Mr. Kiani and others readily accommodated. The meeting took place on
               26 September 2, 2022. Koffey and two other Politan principals met with Mr. Kiani
               27 and other members of Masimo’s senior management at the Company’s
               28
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                    1 headquarters, in Masimo’s Discovery Lab, a showroom for Masimo’s products and
                    2 technologies.
                    3        62.    Neither Koffey nor any other Politan representative asked about
                    4 Masimo’s business or strategy during the meeting. The Masimo management team
                    5 asked Koffey and the other representatives from Politan multiple times about their
                    6 strategy and vision for Masimo and solicited their input, but none of them offered a
                    7 new strategic vision for Masimo.
                    8        63.    Koffey expressed no interest in learning about Masimo; indeed,
                    9 Masimo offered to provide him and Politan with confidential information under a
               10 non-disclosure agreement, an offer which Koffey flatly rejected.
               11            64.    Instead, Koffey made his intentions clear during this meeting and
               12 delivered an ultimatum: If Mr. Kiani supported Koffey’s nomination to serve as a
               13 director, then Koffey promised he would be Mr. Kiani’s “biggest cheerleader” and
               14 would help get the “Joe Kiani Multiples” for stockholders again. If, however, Mr.
               15 Kiani did not express his support, Koffey would wage war against Masimo and
               16 win the board seats anyway.
               17            65.    Masimo’s Board concluded it would not be in Masimo’s best interest
               18 to invite Koffey to join the Board. On April 29, 2023, Koffey made good on his
               19 promise to seek election, and through Politan, nominated himself and Brennan to
               20 serve on the Board.
               21            66.    Notwithstanding his private threat to “wage war” against Masimo,
               22 Koffey publicly told the Company’s stockholders in a May 30, 2023 press release
               23 that “Masimo’s claims Politan is seeking ‘control’ of the Company are absurd,”
               24 and stated that “Politan is seeking refreshed corporate governance at Masimo
               25 befitting a public company, not corporate control—and any suggestion otherwise is
               26 completely baseless.” These statements were false. Koffey’s objective from the
               27 beginning was to take control of Masimo, not to support management or participate
               28 in any meaningful way in running the Company.
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                    1        67.   Based on these and other false statements, on June 26, 2023, Masimo
                    2 stockholders elected Koffey and Brennan to the Board.
                    3        D.    Once Elected, The Politan Directors Refuse to Fulfill Their Duties
                                   as Directors in Order to Lay the Groundwork for a Second Proxy
                    4              Contest for Control of the Company
                    5        68.   While the 2023 proxy contest was contentious, the Masimo
                    6 management team stood ready to welcome Koffey and Brennan and provide them
                    7 with a full introduction to Masimo and its business. Both Koffey and Brennan
                    8 were provided with an extensive onboarding process, including (i) extensive
                    9 Board-related information, including copies of all Board and Board Committee
               10 meeting minutes, quarterly financial updates, Board books dating back to 2021, a
               11 Board calendar, a list of Board Committees and members, a list of Masimo’s
               12 consultants and amounts paid for 2022 and 2023, all Board policies and
               13 procedures, a signature authority matrix, a director search status report from
               14 Masimo’s independent director search firm, forecasts and results by product
               15 platform for 2021 and 2022, and forecasts by product platform for 2023; (ii)
               16 engagement letters with Masimo’s independent financial advisor, director search
               17 firm, and an organizational chart for Masimo’s healthcare business; (iii) updates on
               18 litigation; (iv) a half-day meeting with Mr. Reynolds and the then-Chairman of the
               19 Audit Committee; (v) an hour-long meeting with Masimo’s independent financial
               20 advisor managing the strategic alternatives review process; and (vi) a meeting with
               21 Mr. Kiani and Mr. Reynolds with an extensive presentation regarding Masimo’s
               22 past, present, and 5-year product and partnership roadmap. The Politan Directors’
               23 onboarding also included a number of meetings with key leaders and certain
               24 Company outside advisors, during which Koffey and Brennan had every
               25 opportunity to ask questions and obtain additional information about Masimo. Mr.
               26 Kiani even invited Koffey and Brennan to an all-day meeting, where he personally
               27 walked through Masimo’s business, product road map, competitors and strategic
               28 plans.
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                    1        69.    After the onboarding process, the Politan Directors also received: (i)
                    2 thousands of pages of information about Masimo’s financial plans for 2024
                    3 through 2033; (ii) details regarding Masimo’s quarterly closing procedures; (iii) a
                    4 detailed walk through of financial statements, including details and discussions of
                    5 income statement, balance sheet, and cash flow statement items; (iv) a regulatory
                    6 and quality review; (v) Masimo’s compliance policies and related information
                    7 regarding whistleblower history, significant accounting matters, SOX compliance
                    8 program, and internal audit function; and (vi) information related to a number of
                    9 other specific accounting, business, and finance items including sensor discounts,
               10 debt covenants, inventory valuation, the Sound United impairment analysis, details
               11 on consumer efforts spending, and Malaysia operations.
               12            70.    While on the Board, the Politan Directors continued to have full
               13 access to management to answer questions. From June 24, 2023, through May 23,
               14 2024, Masimo call logs reflect that Koffey spoke with Mr. Kiani eighteen separate
               15 times, Micah Young, Masimo’s Chief Financial Officer, twenty separate times, and
               16 Tom McClenahan, Masimo’s General Counsel, ten separate times. These private
               17 calls were in addition to meetings and in-person interactions between Koffey and
               18 Masimo management.
               19            71.    Koffey and Brennan—along with all other members of the Board—
               20 also received regular quarterly updates from Masimo’s CEO, CFO, and General
               21 Counsel. These updates took place on August 1, 2023, October 31, 2023, February
               22 13, 2024, and April 30, 2024, and were in addition to several interim Board
               23 meetings and Board updates. Each of these quarterly meetings involved
               24 presentation and discussion of key financial information including with respect to
               25 market studies, product roadmaps, and business cases for Masimo products. Other
               26 information included merger and acquisition updates, detailed overviews of both
               27 healthcare and non-healthcare revenues, revenue growth, non-GAAP operating
               28 profit and growth, and earnings per share. Directors were briefed on full-year
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                    1 guidance for all Company segments and reviewed, among other matters,
                    2 anticipated litigation costs, performance compensation, and expense reductions.
                    3 These segment updates further included breakdowns by product, key engineering
                    4 projects, including rainbow®, soon-to-be-launched Root2, 2024 cost reduction
                    5 initiatives, and the inventory reduction plan. Koffey was also provided access to
                    6 Masimo’s banker and had numerous conversations with them starting immediately
                    7 after he was appointed to the Board.
                    8        72.    In addition, as a member of the Audit Committee, Koffey routinely
                    9 met with Grant Thornton, Masimo’s independent auditor, and members of the
               10 Masimo management team and had the opportunity to ask questions about any and
               11 all aspects of Masimo’s financials, including its impairment analysis for the
               12 Consumer Products Business segment.
               13            73.    Despite receiving extensive onboarding, obtaining all requested
               14 information, and attending all board meetings, all Audit Committee meetings, and
               15 all Nominating, Compliance, and Corporate Governance Committee meetings that
               16 have been held since the Politan Directors joined the Board, the Politan Directors
               17 have consistently refused to fulfill their fiduciary duties to Masimo and the
               18 stockholders that elected them. They have abstained from certain critical votes,
               19 failed to participate or ask questions, and refused—without basis—to sign off on
               20 Masimo’s financial statements.
               21            74.    For example, on August 4, 2023, the Audit Committee of the Board
               22 held a meeting during which it reviewed and considered, among other things,
               23 Masimo’s Quarterly Report on Form 10-Q for the second quarter of 2023 and
               24 associated earnings release. The Audit Committee met again on November 6,
               25 2023, to review and consider Masimo’s Quarterly Report on Form 10-Q for the
               26 third quarter of 2023 and associated earnings release. At that meeting,
               27 management provided a draft 10-Q, discussed substantive changes to the 10-Q
               28 compared to the last quarter, and discussed the timing for filing. Disregarding his
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                    1 obligation as a member of the Audit Committee to oversee the financial statements
                    2 and internal controls of the Company, Koffey consistently refused to sign off on
                    3 the Masimo financial statements and abstained from all votes to approve them.
                    4         75.   Both Politan Directors refused to sign off on Masimo’s 2023 Annual
                    5 Report, despite having served on the Board for several months and having been
                    6 provided with voluminous information about Masimo, its products, and its
                    7 financials. On February 13, 2024, the CFO presented to the full Board, including
                    8 the Politan Directors, the final 2024 financial plan targets for revenue, gross
                    9 margin, operating expenses, operating profit, operating margin, non-operating
               10 income / (expense), income taxes, shares outstanding, and non-GAAP earnings per
               11 share. Furthermore, the revenue, non-GAAP operating profit and non-GAAP
               12 earnings per share financial plan targets were used for setting Executive
               13 performance-based compensation, which was approved by the Compensation
               14 Committee. The CFO presented key operational metrics and historical trends for
               15 operating cash flow, free cash flow, capital expenditures, net working capital, days
               16 sales outstanding, inventory days on hand, days payables outstanding, cash
               17 conversion cycle, net debt and net leverage ratio.
               18             76.   The same day, the Chief Operating Officer and the COO of the
               19 Consumer Products Business presented the 2024 operating plans for the healthcare
               20 and consumer businesses. This included detailed information for revenue (by
               21 product category and geography), industry and market data, hospital contracting,
               22 key engineering projects, marketing programs, and new product introductions, as
               23 well as initiatives for inventory improvement, manufacturing efficiencies, cost
               24 reduction and margin expansion.
               25             77.   On February 26, 2024, the Board—including Koffey and Brennan—
               26 met to discuss and finalize Masimo’s annual report on Form 10-K for the fiscal
               27 year ended December 30, 2023 (the “2023 Annual Report”). The Politan Directors
               28 did not ask any questions and did not object to any statements or information in the
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                    1 report, yet still refused to sign off on the report, citing insufficient information (but
                    2 no particulars).
                    3         78.    The next day, on February 27, 2024, the Board reconvened to discuss
                    4 the 2023 Annual Report in advance of the filing deadline. The heads of Finance &
                    5 Accounting, Cybersecurity, Compliance, Quality, and Supply Chain made
                    6 presentations. After those presentations, Koffey confirmed to Mr. Reynolds that
                    7 he had everything he needed and was satisfied with the information provided.
                    8 Confirmation notwithstanding, Koffey and Brennan still declined to sign off on the
                    9 2023 Annual Report, claiming Koffey’s lawyer advised him not to sign the 10-K
               10 because it would look unusual for him to do so, given he spent months
               11 complaining about Masimo’s governance. Brennan followed Koffey’s lead.
               12 Confirming that this excuse was mere pretense to set up a second proxy fight—the
               13 second battle in Koffey’s “war” for control—the Politan Directors actually
               14 encouraged other members of the Board to sign off on that same report.
               15 Tellingly, at no point has either of them identified anything in the financial
               16 statements they believe to be unreliable or misstated.
               17             E.     Koffey Sabotages the Spin-Off Deal He Himself Proposed
               18             79.    On top of the Politan Directors’ refusal to engage with Masimo’s
               19 financial statements, they have consistently declined to offer constructive ideas and
               20 strategies for the Company. During a meeting in Boston among Adam Mikkelson,
               21 then an independent Masimo director, Mr. Reynolds, and Koffey in August 2023,
               22 shortly after the election of the Politan Directors, Koffey was asked what his ideas
               23 and strategies for the Company were. In response, Koffey offered none, other than
               24 to say that a major stockholder would like to see Masimo get rid of the Consumer
               25 Products Business. When asked what price Masimo should be willing to take for
               26 that business, Koffey replied that the stockholders would be happy if Masimo gave
               27 the Consumer Products Business away for nothing.
               28
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                    1         80.   Despite this lack of engagement or new ideas by Koffey, over the next
                    2 several months, Mr. Reynolds, Mr. Kiani, and others continued to attempt to
                    3 engage with Koffey and solicit ideas from the Politan Directors, with no
                    4 meaningful input from them. Nevertheless, Mr. Kiani reached out to Koffey and
                    5 invited him to dinner on a trip to New York. The two met for dinner on January
                    6 29, 2024. During this dinner meeting in New York, Mr. Kiani proposed a potential
                    7 spin-off of Masimo’s Consumer Products Business from its professional healthcare
                    8 businesses to create two separate public companies, each with a distinctive
                    9 investment profile that would allow investors greater flexibility with respect to
               10 their holdings of Masimo.
               11             81.   Koffey responded that he was surprised to have such a productive
               12 meeting. Koffey then suggested that Mr. Kiani should instead be given control of
               13 the new company through super-majority voting shares to avoid Mr. Kiani having
               14 to spend his funds on an uncertain investment. Koffey also proposed that Masimo
               15 and the new company should split the costs and any judgments in pending
               16 litigation. Mr. Kiani agreed.
               17             82.   The next day, January 30, 2024, Koffey contacted Mr. Kiani
               18 expressing Koffey’s enthusiasm for a potential spin-off and asked Mr. Kiani to
               19 meet with him. The two met later that day. At that meeting, Koffey presented Mr.
               20 Kiani with a one-page term sheet that largely reflected the terms the two men had
               21 discussed the previous night.
               22             83.   The term sheet prepared by Koffey included Koffey’s proposals that
               23 (1) Mr. Kiani would be paid all amounts due to him under his employment
               24 agreement in connection with the proposed transaction, and (2) Mr. Kiani would be
               25 provided an opportunity to acquire either voting control or majority ownership of
               26 the spun-off company’s stock, including in exchange for consideration to be
               27 determined at a later time. Specifically, the term sheet proposed by Koffey,
               28 entitled “Outline of Plan to Create Two New Companies,” proposed a “New
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                    1 Masimo: control held by Joe as Chair & CEO” and “Control: Joe to get either high
                    2 vote stock or 50%+ of New Masimo.” With respect to Mr. Kiani’s employment
                    3 agreement, Koffey’s proposal contemplated, “Employment Contract: Special
                    4 Payment not forfeited and instead triggered by above.” During this meeting and at
                    5 the February 13 Board meeting, Koffey explained that he proposed that Mr. Kiani
                    6 receive high-vote stock in the new company so Mr. Kiani “wouldn’t have to deal
                    7 with another asshole like me going forward.”
                    8        84.    The Politan Proxy Materials falsely state that on February 3, 2024,
                    9 Mr. Kiani’s counsel sent Koffey “a substantially revised term sheet that
               10 significantly expanded on Mr. Kiani’s earlier positions,” which included additional
               11 “demands at this stage” for supermajority voting stock and payments under Mr.
               12 Kiani’s employment agreement. Politan Preliminary Proxy at 11. This is wrong.
               13 These were Koffey’s proposals, not Mr. Kiani’s “demands.” Nor were these new,
               14 significantly expanded terms; instead, these terms were discussed at the meeting
               15 between Koffey and Mr. Kiani days before as evidenced by the term sheet he
               16 handed to Mr. Kiani. And the additional proposed terms regarding the retention of
               17 the Company’s corporate headquarters with its innovative Discovery building,
               18 sufficient cash to provide working capital to the new company ($120M-$150M),
               19 and change-in-control payments for employees of the new business were likewise
               20 discussed in that January 30 meeting.
               21            85.    A special committee was formed at a Board meeting on February 13,
               22 2024 for the spin-off. The special committee consisted of Brennan, former director
               23 Rolf Classon, Koffey, and Mr. Reynolds (collectively, the “Special Committee”).
               24 Mr. Kiani had proposed that Mr. Reynolds be the Chair, but Koffey insisted he be
               25 the Chair. Mr. Kiani supported his request, and Koffey was appointed as the lead
               26 director of the Special Committee. At no point did Mr. Kiani stand in the way of
               27 the formation of the Special Committee.
               28
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                    1         86.   Instead of sharing the original term sheet with the Special Committee,
                    2 on March 11, 2024, the Special Committee’s legal counsel sent Mr. Kiani’s
                    3 personal legal counsel a new term sheet with proposed transaction terms for the
                    4 spin off that were entirely different from the transaction contemplated in the term
                    5 sheet Koffey proposed in February. Among other things, the new term sheet
                    6 proposed that the consumer business should not own the intellectual property that
                    7 was needed in pending litigation and would have far more liabilities than Koffey
                    8 and Mr. Kiani had discussed, leaving it insolvent.
                    9         87.   Mr. Kiani asked Koffey why the Special Committee’s counsel had
               10 proposed a new set of terms in March that did not reflect the February term sheet.
               11 Mr. Kiani expressed his view that the March term sheet was not feasible because
               12 the spun-off consumer business would not be viable; it would not be sufficiently
               13 capitalized nor have access to assets that would allow it to pursue a viable
               14 standalone market strategy. Koffey represented that the March proposal reflected
               15 the views of the Special Committee. This, too, was false. Mr. Kiani contacted
               16 Special Committee members Mr. Reynolds and Mr. Classon, who both agreed that
               17 the March term sheet represented an entirely new proposed transaction that they
               18 likewise believed would lead to an unviable consumer business.
               19             88.   Rather than end the process, later in March, Masimo’s independent
               20 directors sent Koffey an updated proposal for a potential spin-off transaction.
               21 Koffey responded that he no longer wanted to engage with the process. Even after
               22 Mr. Kiani said that he would forgo any controlling interest in the consumer
               23 business, and leave Masimo as its CEO and Chairman, resulting in no change of
               24 control special payments being required, Koffey refused to engage.
               25             89.   Politan’s Proxy Materials state that on “March 12, 2024, Mr. Kiani
               26 called Mr. Koffey and said that he would seek to dissolve the Special Committee.”
               27 Politan Preliminary Proxy at 11. This did not happen. Instead, on April 30, 2024,
               28 Mr. Kiani stated that he would forego any controlling interest in the consumer
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                    1 business and would remain Chairman and CEO of Masimo. Mr. Classon,
                    2 however, resigned from the Special Committee because he disagreed with the way
                    3 Koffey conducted the Special Committee business. In response, Koffey threatened
                    4 Mr. Classon and demanded that he fall into line with the Special Committee, or he
                    5 would run a proxy contest against him and ruin his reputation. Ultimately, with
                    6 Mr. Kiani’s potential conflicts removed, and a process established to proceed with
                    7 the separation without related party issues, the Board dissolved the Special
                    8 Committee with a commitment that if related party transactions arose with Mr.
                    9 Kiani, then the Board would consider those without the involvement of Mr. Kiani.
               10            F.     Koffey Sabotages a Potentially Value-Maximizing Joint Venture
                                    and Furnishes the Invalid Nomination Notice
               11
                             90.    At the same time that Koffey was engaged in efforts to sabotage the
               12
                       potential spin-off transaction, in March 2024, the Potential Joint Venture Partner
               13
                       contacted Masimo’s management team expressing interest in exploring an
               14
                       acquisition of a majority of the Consumer Products Business, the Potential Joint
               15
                       Venture.
               16
                             91.    Certain members of Masimo’s executive leadership (excluding Mr.
               17
                       Kiani) engaged in preliminary conversations with the Potential Joint Venture
               18
                       Partner to gauge the seriousness of this informal outreach. Once those discussions
               19
                       progressed to a point where it appeared there was real interest in a possible
               20
                       transaction, the Masimo executive team provided an update to the Board to assess
               21
                       whether the Board would approve management to continue these discussions.
               22
                             92.    On Friday, March 22, 2024, Masimo announced after the stock market
               23
                       closed that the Board had authorized management to consider a separation of its
               24
                       medical technology and consumer businesses. The stock spiked 14% in after-
               25
                       hours trading. Even after the announcement, Koffey never contacted anyone at
               26
                       Masimo to ask for further details of the Potential Joint Venture.
               27
               28
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                    1        93.   After seeing this positive news for Masimo, Koffey jolted into action.
                    2 The following day, Koffey contacted the Wall Street Journal and denied that he
                    3 supported the spin-off. He claimed that he had been kept out of the loop on
                    4 developments at the Company. On Monday, March 25, 2024, the first day of
                    5 trading after the separation announcement, Politan nominated two new directors to
                    6 serve as Class II directors on Masimo’s six-person Board. These nominees were
                    7 Darlene Solomon and William Jellison. Each of Solomon and Jellison was paid
                    8 $50,000 by Politan to run and would get another $50,000 from Politan if elected.
                    9        94.   Politan’s announcement of the nomination of its directors was riddled
               10 with falsehoods, inaccuracies, and material omissions. Koffey claimed that he and
               11 Brennan had been excluded from Board meetings, had been denied access to
               12 management and documents, and had not been given information about the
               13 potential spin-off. All of this was false. The market reacted negatively to this
               14 announcement. That day, the stock lost 9% — most of the gains that it had taken
               15 from the announcement of the separation. Koffey thus deprived the stockholders
               16 of the chance to take profits on the potential separation of the businesses. This
               17 tactic served only Politan’s interests: the lower the stock price, the more likely
               18 disaffected stockholders would be to vote against the company’s nominees, Mr.
               19 Kiani and Mr. Classon. On the other hand, once Politan had seized control, Politan
               20 and his backers would be able to increase their stockholdings, boost the stock
               21 price, and profit.
               22            95.   Notwithstanding Koffey’s attempts to distract from a potentially
               23 value-maximizing deal to serve his own desire for control, Masimo’s management
               24 pushed forward with evaluating the Potential Joint Venture. On May 7, 2024, all
               25 of the non-executive members of the Board were asked to sign a short-form
               26 confidentiality agreement protecting the identity of the Potential Joint Venture
               27 Partner. Koffey and Brennan refused to sign the confidentiality agreement. All the
               28 other directors agreed to sign the confidentiality agreement. That same day, Mr.
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                    1 Kiani asked that the Board hold a meeting the following week to review and
                    2 discuss a proposed non-binding term sheet with the Potential Joint Venture Partner.
                    3 Background materials regarding the discussions to date and potential terms would
                    4 be provided in advance of the meeting.
                    5        96.    As promised, on May 13, 2024, and following discussions with the
                    6 Potential Joint Venture Partner, all members of the Board, including Koffey and
                    7 Brennan, were provided with the identity of the Potential Joint Venture Partner and
                    8 other materials relating to the Potential Joint Venture, including a proposed non-
                    9 binding term sheet, a proposed exclusivity agreement, materials providing
               10 preliminary analysis of the potential Consumer Products Business separation, and a
               11 preliminary financial analysis.
               12            97.    The proposed non-binding term sheet reflects a highly attractive
               13 option for separating the Consumer Products Business. Specifically, the Potential
               14 Joint Venture would give Masimo the ability to monetize at least 85% of the
               15 Consumer Products Business at an attractive multiple, while paying down debt and
               16 giving stockholders some residual ownership in and exposure to potential upside in
               17 the Consumer Products Business. The Potential Joint Venture also presented a
               18 valuation of the Consumer Products Business that was three times higher than the
               19 valuation Koffey assigned to it just two months earlier.
               20            98.    What’s more, the proposed terms of the Potential Joint Venture and
               21 the Joint Venture Partner’s financial backing would help ensure the Consumer
               22 Products Business would be adequately capitalized to pursue the growing
               23 consumer health market, unlike Koffey’s Special Committee proposal that would
               24 have left the spun-off company undercapitalized and under resourced.
               25            99.    The Board met to discuss the Potential Joint Venture on May 16,
               26 2024. Even though discussions were in the very early stages and no decisions were
               27 being made, Koffey and Brennan criticized various aspects of the Potential Joint
               28 Venture, yet made no constructive suggestions of their own. Rather than direct
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                    1 management to evaluate the potential transaction further to explore whether it
                    2 offered a value-maximizing opportunity for all stockholders, Koffey and Brennan
                    3 urged the Board to delay any further assessment until after the annual meeting,
                    4 presumably to prevent Masimo from negotiating a favorable deal that might harm
                    5 the Politan election changes. Because the Politan Directors refused to determine
                    6 whether there was a potential transaction that could result in the highest price
                    7 reasonably available to stockholders for the Consumer Products Business, Mr.
                    8 Kiani informed the Board that he would not support the Potential Joint Venture
                    9 before the annual meeting absent unanimous Board support.
               10             G.    Koffey Betrays His Fiduciary Duties to Serve Masimo and Its
                                    Stockholders by Secretly Collaborating With Lawyers Who Are
               11                   Pursing Litigation Against the Board
               12             100. Unfortunately, Koffey’s obstructionist behavior did not stop at his
               13 interference with the Potential Joint Venture – in fact, Koffey is conspiring with
               14 plaintiffs in a lawsuit Masimo and the Board are defending.
               15             101. On May 1, 2024, purported Masimo stockholder Linda McClellan
               16 filed a derivative complaint against the Board, including Koffey (the “Derivative
               17 Action”). McClellan is represented by the law firm Wolf Haldenstein Adler
               18 Freeman & Herz LLP (“Wolf Haldenstein”).
               19      102. The complaint in the Derivative Action is entirely based on the same
               20 allegations at issue in a separate securities class action that was filed against
               21 Masimo, Vasquez v. Masimo Corporation, Case No. 3:23-cv01546-L-DEB (S.D.
               22 Cal.) (the “Securities Class Action”). These allegations are entirely meritless, as
               23 reflected in Masimo’s motion to dismiss the case which it filed on April 29, 2024.
               24 Any effort to support the bogus claims in the Derivative Action would directly
               25 undermine Masimo’s defense of the Securities Class Action, a fact of which
               26 Koffey is well aware.
               27      103. Koffey nevertheless is believed to have conspired with Wolf
               28 Haldenstein against Masimo’s interests. Based on Masimo’s investigation and
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                    1 diligence, including through its advisors, Masimo was recently informed through
                    2 two confidential witnesses that Koffey has been “working closely” with lawyers at
                    3 Wolf Haldenstein, the firm representing plaintiff in the Derivative Action. Indeed,
                    4 “one of the confidential witnesses reported that Koffey is ‘actually named as a
                    5 defendant [in the Derivative Action], but he doesn’t care. He will use whoever
                    6 will get him to where he needs to go.’”
                    7         104. As a member of the Board, Koffey has confidential and privileged
                    8 information about Masimo. Sharing that information with Wolf Haldenstein
                    9 assists plaintiff in the Derivative Action against the other members of the Board
               10 and jeopardizes Masimo’s defense in the Securities Class Action – a blatant
               11 violation of Koffey’s fiduciary duties to Masimo and all of its stockholders. Worse
               12 yet, if Koffey assists Wolf Haldenstein and the meritless claims in the Securities
               13 Class Action are not dismissed, it could cost stockholders millions of dollars.
               14             H.    Politan Files Its Incomplete Nomination Notice and False and
                                    Misleading Proxy Materials
               15
                              105. In the midst of all of the above, Defendants filed the incomplete and
               16
                        misleading Politan Proxy Materials.
               17
                              106. Politan filed its notice of nomination of the Nominee Defendants on
               18
                        March 25, 2024 (the “Nomination Notice”).
               19
                              107. While the Nomination Notice purported to furnish the information
               20
                        required by Article I of Masimo’s Bylaws, the Nomination Notice does not furnish
               21
                        all material information required by Section 14(a) of the Securities Exchange Act
               22
                        and the Bylaws. Specifically, it did not disclose that Koffey had been working
               23
                        with Wolf Haldenstein to assist them in suits against Masimo and the Board and
               24
                        jeopardizing Masimo’s defense in the Securities Class Action.
               25
                              108. All Defendants except Brennan filed the Preliminary Proxy Statement
               26
                        (the “Politan Preliminary Proxy”) on Schedule 14A on June 3, 2024.
               27
               28
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                    1        109. All Defendants except Brennan filed the Definitive Proxy Statement
                    2 on June 21, 2024 (the “Politan Definitive Proxy” and together with the Preliminary
                    3 Proxy Statement, the “Politan Proxy Statements”).
                    4        110. On June 26, 2024, Politan released a letter to investors regarding its
                    5 proxy campaign (the “Investor Letter”).
                    6        111. On June 26, 2024, Politan released its Investor Presentation (the
                    7 “Investor Presentation”).
                    8        112. On July 1, 2024, Politan released its “Correcting the Record” Investor
                    9 Presentation (the “Second Investor Presentation”).
               10            113. On July 11, 2024, Brennan released a letter to stockholders urging a
               11 “cultural reset” in the Company’s boardroom (the “Brennan Letter” and together
               12 with the Politan Preliminary Proxy, the Politan Definitive Proxy, the Investor
               13 Letter, the Investor Presentation, and the Second Investor Presentation, the “Politan
               14 Proxy Materials”).
               15            114. Masimo’s 2024 Annual Meeting of Stockholders was previously
               16 scheduled for July 25, 2024. During the time Politan’s Proxy Materials were being
               17 released to the public, Koffey sent two letters to Masimo claiming that a
               18 stockholder was engaged in “empty voting” and therefore that it should set a new
               19 record date for the vote. While there is no merit to this claim, Mr. Kiani agreed to
               20 propose that the Board consider setting a new record date and new meeting date for
               21 the vote. On July 15, 2024, the Board approved this proposal. The new annual
               22 meeting date is set for September 19, 2024.
               23                    V.    FALSE AND MISLEADING STATEMENTS
               24            115. The Politan Proxy Materials ask stockholders to vote on a control
               25 slate: i.e., if Politan is successful in electing the two Nominee Defendants, the
               26 Nominee Defendants will, when added together with the existing Politan Directors,
               27 constitute a majority of the Board.
               28
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                    1         116. Proxy materials are “solicitations” subject to the requirements of
                    2 Section 14(a) of the Securities Exchange Act and SEC rules and regulations
                    3 promulgated thereunder.
                    4         117. Rule 14a-9 instructs that “[n]o solicitation subject to this regulation
                    5 shall . . . contain[] any statement, which at the time and in the light of the
                    6 circumstances under which it is made, is false or misleading with respect to any
                    7 material fact, or which omits to state any material fact necessary in order to make
                    8 the statements therein not false or misleading.” 17 C.F.R. § 240.14a-9.
                    9         118. The Politan Proxy Materials violate Section 14(a) and Rule 14a-9 by
               10 making false and misleading statements and omissions with respect to the
               11 following topics and events: (1) Koffey’s secret relationship with plaintiffs’
               12 counsel in an action proceeding against Masimo’s Board; (2) the proposed spin-off
               13 of the Consumer Products Business and the Special Committee overseeing that
               14 potential transaction; (3) the Potential Joint Venture; (4) falsely claiming that
               15 Masimo will not owe Mr. Kiani 2.7 million RSUs under the operative change-in-
               16 control provision if Mr. Kiani is not reelected to the Board; (5) the information
               17 provided to the Politan Directors both during the onboarding process when joining
               18 the Board in 2023 as well as during their tenure on the Board, including as to how
               19 that information relates to the Politan Directors’ refusal to approve and sign any of
               20 Masimo’s quarterly or annual reports since joining the Board; and (6) the Board’s
               21 grant of authority to management in connection with a potential sale of the
               22 Company.
               23             119. Because the Politan Proxy Materials contain false or misleading
               24 statements and omit to disclose material facts necessary to make them not
               25 misleading, Masimo investors have been deprived of material information they
               26 need to evaluate whether to cast a vote in favor of the Nominee Defendants.
               27
               28
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                    1        A.    False and Misleading Statements and Omissions Regarding the
                                   Politan Directors’ Commitment to Acting in the Best Interests of
                    2              Stockholders and Maximizing Stockholder Value
                    3        120. The Politan Proxy Materials claim that the Politan Directors and the
                    4 Nominee Defendants are committed to being fierce advocates for Masimo’s
                    5 stockholders and acting in the Company’s best interests.
                    6        121. Specifically, on Page 2, the Politan Definitive Proxy states that
                    7 Politan, “[a]s a significant long-term Stockholder of Masimo,” is “committed to
                    8 maximizing the value of the Company for all Stockholders.” The Politan
                    9 Definitive Proxy continues:
               10                  Accordingly, we are nominating two high-qualified,
                                   independent director candidates: William Jellison and
               11                  Darlene Solomon (each, a “Politan Nominee” and,
                                   together, the “Politan Nominees”), each of whom has
               12                  ideal operational, industry and financial expertise, and is
                                   committed to bringing fully objective and openminded
               13                  perspectives to the Board. We believe that, together with
                                   the 2023 Newly-Elected Directors, the Politan Nominees
               14                  will be fierce advocates for Stockholders and for best in
                                   class corporate governance practices, and will facilitate
               15                  a renewed focus on value creation in the Masimo
                                   boardroom.
               16
               17            122. The statements referenced in ¶ 121 are false and misleading.
               18            123. Politan claims that the Politan Directors and the Nominee Defendants
               19 were committed to being fierce advocates for Masino’s stockholders and would
               20 bring a renewed focus on value creation for stockholders. But Politan fails to
               21 acknowledge that Koffey’s collaboration with Wolf Haldenstein had the potential
               22 to damage Masimo’s litigation defense strategy in the Securities Class Action. In
               23 particular, if Wolf Haldenstein learned new confidential information from Koffey,
               24 plaintiff would almost certainly amend the complaint in the Derivative Action to
               25 include that information. Once publicly filed, plaintiffs in the Securities Class
               26 Action would be able to use that information against Masimo by amending their
               27 complaint to add new allegations based on that information risking defeat of
               28 Masimo’s motion to dismiss.
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                    1     124. The Politan Definitive Proxy further states that:
                    2          Mr. Koffey, on behalf of Politan, responded in a letter that
                               same day to Mr. Reynolds, stating that the May 9 Proposal
                    3          “falls well short of resolving the fundamental governance
                               problems at Masimo, while simultaneously introducing
                    4          others.” The response to the May 9 Proposal further noted
                               that “seating one Politan nominee will simply deadlock the
                    5          Board—something broadly criticized by governance
                               experts which would merely continue the status quo under
                    6          which Mr. Kiani can do whatever he wants however he
                               wants with no Board oversight” and concluded that there
                    7          is a “straightforward and clear solution” to Masimo’s
                               need for “a majority of truly independent directors,”
                    8          specifically the appointment of both Mr. Jellison and Dr.
                               Solomon to the Board immediately.
                    9
               10 Politan Definitive Proxy at 13.
               11         125. The statements referenced in ¶ 124 are false and misleading for
               12 suggesting that the Politan Directors and Nominee Defendants were “truly
               13 independent directors” without disclosing that Koffey was actively working with
               14 plaintiffs’ counsel in the Derivative Action, Wolf Haldenstein, in order to gain a
               15 perceived edge in the second proxy contest. Worse yet, the statements failed to
               16 disclose that Koffey’s collaboration with Wolf Haldenstein had the potential to
               17 damage Masimo’s litigation defense strategy in the Securities Class Action,
               18 negatively impacting stockholder value.
               19         126. The Politan Definitive Proxy also asserts:
               20              Politan initially invested in Masimo with the hope that
                               we could work collaboratively with the Company to help
               21              maximize Masimo’s significant potential and create
                               long-term sustainable value for Stockholders.
               22
                                       ...
               23
                                At the 2023 Annual Meeting, Stockholders
               24               overwhelmingly elected Politan nominees Michelle
                                Brennan and Quentin Koffey to the Board. Following this
               25               clear mandate from Stockholders, we were optimistic that
                                we could engage productively with the rest of the Board
               26               to drive positive change. Instead, our efforts were
                                continually rebuffed.
               27
                                ...
               28
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                    1           We believe that the Politan Nominees will provide
                                additional independent voices in the boardroom, bring
                    2           extensive industry-related experience and expertise to the
                                Board and provide valuable insight on research and
                    3           development, strategy, sustainability and operational
                                challenges faced by companies focused on
                    4           commercialization of technology innovations. We believe
                                that, together with the 2023 Newly-Elected Directors, the
                    5           Politan Nominees will help instill accountability and
                                drive improved performance and governance — and
                    6           ultimately enhanced value for all Stockholders.
                7 Politan Definitive Proxy at 15.
                8
                         127. The statements referenced in ¶ 126 are false and misleading for at
                9
                  least four reasons.
               10
                         128. First, the statement that Politan hoped to work collaboratively with the
               11
                  Company and engage productively with the Board was false and misleading for
               12
                  failing to disclose that one of the Politan Directors was actively working against
               13
                  the Board by secretly collaborating with plaintiffs’ counsel in the Derivative
               14
                  Action.
               15
                         129. Second, the statements are false and misleading for claiming that
               16
                  Politan would seek to maximize long-term sustainable value for stockholders
               17
                  without disclosing that one of the Politan Directors was actively working against
               18
                  the Board by secretly collaborating with plaintiffs’ counsel in the Derivative
               19
                  Action.
               20
                         130. Third, these statements are false and misleading for failing to disclose
               21
                  that Koffey was actively working with plaintiffs’ counsel in the Derivative Action,
               22
                  Wolf Haldenstein, and that his collaboration with Wolf Haldenstein had the
               23
                  potential to damage Masimo’s litigation defense strategy in the Securities Class
               24
                  Action, negatively impacting stockholder value. In particular, if Wolf Haldenstein
               25
                  learned new confidential information from Koffey, plaintiff would almost certainly
               26
                  amend the complaint in the Derivative Action to include that information. Once
               27
                  publicly filed, plaintiffs in the Securities Class Action would be able to use that
               28
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                    1 information against Masimo by amending their complaint to add new allegations
                    2 based on that information risking defeat of Masimo’s motion to dismiss.
                    3         131. Finally, these statements are false and misleading for suggesting that
                    4 the Politan Directors and Nominee Defendants would provide independent voices
                    5 and instill accountability without disclosing that Koffey was actively working with
                    6 plaintiffs’ counsel in the Derivative Action, Wolf Haldenstein, in order to gain a
                    7 perceived edge in the second proxy contest. Worse yet, the statements failed to
                    8 disclose that Koffey’s collaboration with Wolf Haldenstein had the potential to
                    9 damage Masimo’s litigation defense strategy in the Securities Class Action,
               10 negatively impacting stockholder value.
               11             132. Finally, the Politan Definitive Proxy claims:
               12                  Other than as described in the “BACKGROUND OF THE
                                   SOLICITATION” section above, to the knowledge of the
               13                  Politan Parties there are no material legal proceedings to
                                   which any Participant, the Politan Parties, the Polytan
               14                  Nominees or any of their respective associates are a party
                                   adverse to the Company or any of its subsidiaries, or any
               15                  material legal proceedings in which any of the
                                   Participants, the Politan Parties, the Politan Nominees
               16                  or any of their respective associates have a material
                                   interest adverse to the Company or any of its
               17                  subsidiaries.
               18 Politan Definitive Proxy at 32.
               19             133. The statements referenced in ¶ 132 are false and misleading for failing
               20 to disclose that Koffey was actively working with plaintiffs’ counsel in the
               21 Derivative Action, Wolf Haldenstein, and that his collaboration with Wolf
               22 Haldenstein had the potential to damage Masimo’s litigation defense strategy in the
               23 Securities Class Action. In particular, if Wolf Haldenstein learned new
               24 confidential information (or falsehoods) from Koffey, plaintiff would almost
               25 certainly amend the complaint in the Derivative Action to include that information.
               26 Once publicly filed, plaintiffs in the Securities Class Action would be able to use
               27 that information against Masimo by amending their complaint to add new
               28
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                    1 allegations based on that information risking defeat of Masimo’s motion to
                    2 dismiss.
                    3        134. The failure to disclose that Koffey has been working behind the
                    4 scenes with Wolf Haldenstein renders the above statements in the Politan Proxy
                    5 Materials false or misleading.
                    6        B.    False and Misleading Statements and Omissions Regarding
                                   Koffey’s Proposed Terms for a Potential Spin-Off Transaction
                    7              and the Politan Directors’ Manipulation of the Special Committee
                    8        135. The Politan Proxy Materials offer a false and misleadingly incomplete
                9 narrative regarding the potential separation of the Consumer Products Business
               10 from Masimo. According to the Politan Proxy Materials, Mr. Kiani proposed to
               11 spin off the Consumer Products Business on terms favorable to him that would
               12 protect his control of that business segment and his change-in-control payments.
               13 The Politan Proxy Materials further suggest that when the Special Committee later
               14 proposed different terms, Mr. Kiani killed the deal and disbanded the Special
               15 Committee. Specifically, the Politan Definitive Proxy states:
               16            Beginning in January 2024, Mr. Koffey and Mr. Kiani
               17            began preliminary discussions regarding potential
                             strategic options for the Company…On January 29, 2024,
               18            Mr. Kiani noted at a dinner with Mr. Koffey that his efforts
               19            to sell the Company on terms he found satisfactory had not
                             materialized.…Mr. Kiani proposed the Company
               20            purchase Politan’s shares in the Company at a substantial
               21            premium in exchange for Politan agreeing to not purchase
                             more shares and to never run a proxy contest in the future.
               22            Mr. Koffey flatly rejected this idea. Mr. Kiani then revived
               23            the idea proposed by Politan nearly a year earlier to
                             separate the consumer business from the rest of the
               24            Company. Mr. Kiani proposed leaving Masimo and
               25            heading the separated consumer-focused company on
                             the condition that he controlled that company and that
               26            his departure not be considered a resignation (and
               27            therefore result in forfeiture of certain compensation)
                             under the terms of his Employment Agreement.
               28
                                                                      VERIFIED COMPLAINT FOR VIOLATIONS OF
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                1 Politan Definitive Proxy at 9.
                2
                        136. The Politan Definitive Proxy further states:
                3
                               On January 30, 2024, Mr. Koffey met with Mr. Kiani to
                4              further explore the proposed separation of the consumer
                               business subject to the conditions Mr. Kiani had earlier
                5
                               raised and a commitment from Politan to forego
                6              nominating any director candidates during separation
                               discussions. Mr. Koffey stated that as a single director on
                7
                               the Board, he was not in a position to negotiate or agree to
                8              Mr. Kiani’s requests and suggested that it would be
                               advisable for the whole Board to consider forming a
                9
                               special committee to negotiate the separation given the
               10              related party issues.
               11
                    Id.
               12
                          137. The Politan Definitive Proxy also states:
               13
                                The next day, Mr. Koffey’s counsel sent a summary of
               14               initial, high-level terms to serve as a basis for discussion
               15               between a Board special committee once formed and Mr.
                                Kiani with respect to the proposed separation. Mr. Kiani’s
               16
                                counsel responded on February 3, 2024 with a
               17               substantially revised term sheet that significantly
                                expanded on Mr. Kiani’s earlier positions.
               18
                    Id.
               19
               20         138. The Politan Definitive Proxy then asserts:

               21               On February 13, 2024, the Board formed a special
                                committee comprised of directors who represented a
               22               majority of the Board (the “Special Committee”) to
               23               evaluate related party aspects of the separation…On
                                March 11, 2024 the Special Committee unanimously
               24               agreed to send a revised term sheet that rejected the terms
               25               that Mr. Kiani had proposed and instead reflected the
                                Special Committee’s independent position on the
               26               separation transaction to Mr. Kiani. The term sheet
               27               proposed an independent, external advisory process to
                                assist the Special Committee in determining the perimeter
               28               of intellectual property transfer and licensing. The scope
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                    1                  and duration of key intellectual property licenses between
                    2                  the two companies would be highly material to any
                                       transaction, and if handled improperly, could result in a
                    3                  significant valuation impairment to the legacy healthcare
                    4                  business as well as give the consumer products business
                                       significant advantages and influence over the legacy
                    5                  healthcare business.
                    6
                        Id. at 9-10.
                    7
                               139. Finally, the Politan Definitive Proxy claims: “On March 12, 2024, Mr.
                    8
                        Kiani called Mr. Koffey and said that he would seek to dissolve the Special
                    9
                        Committee. The Special Committee was later dissolved by the Board.” Id. at 10.
               10
                               140. The statements referenced in ¶¶ 135-138 are materially false and
               11
                        misleading for the reasons below.
               12
                               141. On January 29, 2024, Mr. Kiani met with Koffey for dinner in New
               13
                        York, where they discussed, among other things, a potential spin-off of Masimo’s
               14
                        Consumer Products Business from its professional healthcare businesses to create
               15
                        two separate public companies each with a distinctive investment profile that
               16
                        would allow investors greater flexibility with respect to their holdings of Masimo.
               17
                               142. The next day, January 30, 2024, Koffey contacted Mr. Kiani
               18
                        expressing his enthusiasm for a potential spin-off and asked for a meeting with Mr.
               19
                        Kiani, and the two met later that day. Contrary to the statement in ¶ 135 that Mr.
               20
                        Kiani had proposed a spin-off of the Consumer Products Business “on the
               21
                        condition that he controlled that company and that his departure not be considered
               22
                        a resignation (and therefore result in forfeiture of certain compensation) under the
               23
                        terms of his Employment Agreement,” it was Koffey who first proposed these
               24
                        terms—not Mr. Kiani—in a term sheet Koffey presented to Mr. Kiani during their
               25
                        meeting on January 30.
               26
                               143. Koffey’s term sheet included Koffey’s proposals that (1) Mr. Kiani
               27
                        would be paid all amounts due to him under his employment agreement in
               28
                                                                          VERIFIED COMPLAINT FOR VIOLATIONS OF
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                    1 connection with the proposed transaction, and (2) Mr. Kiani would be provided an
                    2 opportunity to acquire either voting control or majority ownership of the spun-off
                    3 company’s stock, in exchange for consideration to be determined at a later time.
                    4 Specifically, the term sheet proposed by Koffey, titled “Outline of Plan to Create
                    5 Two New Companies,” proposed a “New Masimo: control held by Joe as Chair &
                    6 CEO” and “Control: Joe to get either high vote stock or 50%+ of New Masimo.”
                    7 With respect to Mr. Kiani’s employment agreement, Koffey’s proposal
                    8 contemplated “Employment Contract: Special Payment not forfeited and instead
                    9 triggered by above.”
               10            144. The Politan Definitive Proxy states that on February 3, 2024, Mr.
               11 Kiani’s counsel sent Koffey “a substantially revised term sheet that significantly
               12 expended on Mr. Kiani’s earlier positions,” which included new “demands at this
               13 stage” for supermajority voting stock and payments under Kiani’s employment
               14 agreement. Politan Definitive Proxy at 9. This is false. These were Koffey’s
               15 proposals, not Mr. Kiani’s “demands.” Nor were these new, significantly
               16 expanded terms; instead, these were terms the two had discussed days before. And
               17 the additional proposed terms regarding the retention of the Company’s corporate
               18 headquarters with its innovative Discovery building, sufficient cash to provide
               19 working capital to the new company ($120M-$150M), and change-in-control
               20 payments for employees of the new business were likewise discussed in the
               21 January 30, 2024 meeting.
               22            145. At no point did Mr. Kiani stand in the way of the formation of the
               23 Special Committee, which was formed on February 13, 2024, and on which
               24 Brennan and Koffey served. In fact, during the February 13 Board meeting and
               25 separately the night before with the non-Politan Directors, Mr. Koffey outlined the
               26 same terms that he proposed to Mr. Kiani and explained why Mr. Kiani deserved
               27 his change of control payment. Koffey wanted Mr. Kiani to leave Masimo so
               28 Koffey could take over.
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                    1         146. On March 11, 2024, legal counsel for the Special Committee sent Mr.
                    2 Kiani’s personal legal counsel (not Masimo’s counsel) a new term sheet with
                    3 proposed transaction terms for the spin-off that differed substantially from the
                    4 transaction contemplated in the term sheet Koffey originally proposed in February.
                    5 It also did not resolve related party issues.
                    6         147. Mr. Kiani contacted Koffey to discuss why the Special Committee’s
                    7 counsel had proposed a new set of terms that did not reflect the February term
                    8 sheet. Mr. Kiani expressed his view that the March term sheet was not a legitimate
                    9 proposal—the spun-off Consumer Products Business would not be viable; it would
               10 not be sufficiently capitalized or have access to assets that would allow it to pursue
               11 a viable standalone market strategy.
               12             148. Koffey represented that the March proposal reflected the views of the
               13 Special Committee. This statement, and the statement in ¶ 138 that the Special
               14 Committee “unanimously agreed” to send the revised March term sheet to Mr.
               15 Kiani, were false. Mr. Kiani contacted Special Committee members Mr. Classon
               16 and Mr. Reynolds who both agreed that the March term sheet represented an
               17 entirely new proposed transaction that they likewise believed would lead to an
               18 unviable Consumer Products Business.
               19             149. The Politan Definitive Proxy claims that on “March 12, 2024, Mr.
               20 Kiani called Mr. Koffey and said that he would seek to dissolve the Special
               21 Committee.” Politan Definitive Proxy at 11. This did not happen. Instead, on
               22 April 30, 2024, Mr. Kiani stated that he would forego any controlling interest in
               23 the Consumer Products Business. With this potential conflict removed, the Board
               24 dissolved the Special Committee.
               25             C.    False and Misleading Statements and Omissions Regarding a
                                    Potential Joint Venture and Koffey’s Objections to It
               26
                              150. The Politan Proxy Materials state that “the full Board was also
               27
                        unaware that discussions with a potential joint venture partner were occurring” and
               28
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                    1 that Masimo “refused to disclose the identity of the potential joint venture partner”
                    2 to the Board until Koffey made a Section 220 books and records inspection
                    3 demand on May 8, 2024. Politan Definitive Proxy at 10-13. In particular, the
                    4 Politan Definitive Proxy states that in March 2024:
                    5               The full Board was also unaware that discussions with a
                                    potential joint venture partner were occurring and that the
                    6
                                    confidentiality agreement with such party had been signed
                    7               the previous week.
                    8 Id. at 9.
                    9         151. Referring to the potential joint venture, the Politan Definitive Proxy
               10 states:
               11                   On March 20, 2024, the Company entered into a
                                    confidentiality agreement with a potential joint venture
               12                   partner in connection with the separation of the consumer
               13                   business. The full Board knew nothing about the existence
                                    of the joint venture partner or any discussions that had
               14                   occurred. The full Board was never notified that a
               15                   confidentiality agreement had been entered into or that any
                                    confidential information had been exchanged until nearly
               16                   eight weeks later on May 13, 2024.
               17
               18 Id. at 10.
               19             152. The Politan Definitive Proxy then states:
               20                   Also on March 25, 2024, members of the full Board
               21                   learned for the first time through Mr. Kiani’s interviews
                                    with the media that the Company had been approached by
               22                   a potential joint venture partner in the consumer
               23                   business….

               24 Id. at 10-11.
               25             153. The Politan Definitive Proxy also states:
               26                   Despite multiple requests after the public disclosure of the
               27                   joint venture partner’s existence, Mr. Kiani refused to
                                    disclose the identity of the potential joint venture partner
               28                   to the full Board until after Mr. Koffey demanded that
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                    1                 information by exercising his rights as a director under
                    2                 Section 220 of the Delaware General Corporation
                                      Law…On April 25, 2024, in advance of the April 30, 2024
                    3                 Board meeting, Mr. Koffey became aware that Company
                    4                 management was seeking to enter into a binding
                                      agreement regarding the sale/joint venture of the consumer
                    5                 business in June 2024 and therefore prior to the annual
                    6                 meeting, which was proposed for the end of July.
                    7 Id. at 11.
                    8         154. The Politan Definitive Proxy similarly states on page 8:
                    9                 Only following a formal request under Delaware law was
                                      such basic information as the name of the joint venture
               10                     partner provided to the Board.
               11
                              155. The Politan Proxy Materials also incorporate false and misleading
               12
                        statements about the actual terms of the Potential Joint Venture. For instance, the
               13
                        Investor Letter states that:
               14
                                      Mr. Kiani is pursuing a separation of a newly formed
               15                     entity that will take Masimo’s trademarks, trade secrets
               16                     and licenses to its IP, thereby risking the creation of a
                                      competitor as a result….There is no proper Board
               17
                                      oversight process in place, as Mr. Kiani disbanded the
               18                     Special Committee formed for this purpose.
               19             156. The Investor Presentation also asserts:
               20                   “Mr. Kiani Refuses to simply sell Consumer Audio”; and
               21                   “Mr. Kiani Is Only Pursuing a separation of Consumer Audio together
               22                     with a transfer of Masimo’s intellectual property, trademark, and trade
               23                     secrets.”
               24             157. Similarly, the Second Investor Presentation claims that the potential
               25 separation includes terms such as:
               26                   “Damaging IP transfers: Licenses to all of Masimo’s IP, trade secrets
               27                     accompanying transfer of engineers, and Masimo’s trademark”; and
               28
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                    1             “Egregious self-enrichment for Mr. Kiani: The immediate payout of
                    2                ~400M to Mr. Kiani, an entirely new compensation package for his
                    3                role as Executive Chairman of ConsumerCo, and control of the
                    4                consumer company either through controlling shares granted
                    5                essentially for free or his personal selection of the Board.”
                    6         158. The statements referenced in ¶¶ 150-157 are materially false and
                    7 misleading, as they are a distortion of the truth.
                    8         159. In March 2024, a third party with which Masimo management had
                    9 been engaged in discussions regarding a potential investment in the Company
               10 indicated that it would be interested in exploring an acquisition of a majority of the
               11 Consumer Products Business. Masimo entered a confidentiality agreement with
               12 this third party on March 20, 2024.
               13             160.    The Board was provided with additional information regarding
               14 discussions about a Potential Joint Venture on April 25, 2024 ahead of a planned
               15 April 30, 2024 Board meeting. According to the Politan Definitive Proxy, on
               16 “April 25, 2024, in advance of the April 30, 2024 Board meeting, Mr. Koffey
               17 became aware that Company management was seeking to enter into a binding
               18 agreement regarding the sale/joint venture of the Consumer Products Business in
               19 June 2024 and therefore prior to the annual meeting, which was proposed for the
               20 end of July.” Politan Definitive Proxy at 11. To the contrary, Masimo’s
               21 management team was not seeking a binding joint venture agreement. Instead, and
               22 as discussed during this April 30, 2024 Board meeting, Masimo was working on
               23 diligence and discussing a potential non-binding term sheet with the third-party
               24 joint venture partner, the terms of which were discussed during this meeting.
               25 Indeed, that is exactly what happened; Masimo entered a non-binding term sheet
               26 weeks later on May 8, 2024.
               27             161. The Politan Definitive Proxy misleadingly states that “[d]espite
               28 multiple requests . . . Mr. Kiani refused to disclose the identity of the potential joint
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                    1 venture partner to the full Board until after Mr. Koffey demanded that information
                    2 by exercising his rights as a director under Section 220” on May 8, 2024. Id. at 11.
                    3 But Koffey did not make any such request, nor did he reach out to Mr. Kiani on
                    4 this point, until May 2. A few business days later, on May 7, 2024, all of the non-
                    5 executive members of the Board were asked to sign a short-form confidentiality
                    6 agreement protecting the identity of the Potential Joint Venture partner in light of
                    7 concerns expressed by that third party about confidentiality including with respect
                    8 to its identity. Koffey and Brennan refused to sign the confidentiality agreement.
                    9         162. Notwithstanding this refusal, on the same day—May 7, before
               10 Koffey’s May 8 Section 220 demand—Mr. Kiani asked that the Board hold a
               11 meeting the following week to review and discuss the Potential Joint Venture,
               12 including the terms of the proposed non-binding term sheet, preliminary financial
               13 analysis, and proposed next steps.
               14             163. On May 13, 2024, and following discussions with the Potential Joint
               15 Venture Partner, all members of the Board, including Koffey, were provided with
               16 the identity of the Potential Joint Venture partner and other materials relating to the
               17 Potential Joint Venture, including a non-binding term sheet, a proposed exclusivity
               18 agreement for diligence, materials providing preliminary analysis of the potential
               19 Consumer Products Business separation, and a preliminary financial analysis.
               20 These materials and the Potential Joint Venture were discussed during the May 16,
               21 2024 Board meeting. During the meeting, Mr. Kiani informed the Board that he
               22 would not vote for the Potential Joint Venture before the 2024 Annual Meeting
               23 unless the Board was unanimously in support of the potential transaction to avoid
               24 litigation.
               25             164. Koffey’s statements regarding the proposed terms of the Potential
               26 Joint Venture are also false and misleading. First, the Board agreed that it would
               27 not approve a separation before the 2024 annual stockholder meeting without the
               28 support of the full Board. More recently, Mr. Kiani has said he will not support the
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                    1 JV unless it is unanimously supported by the entire Board. Therefore, even if these
                    2 were terms of the proposed separation, and they are not, to the extent Koffey and
                    3 Brennan disagree with them, they will not become part of any transaction. Second,
                    4 and even more importantly, these are not terms of the current proposed deal. The
                    5 intellectual property that would be licensed under the current proposed deal are the
                    6 same as Koffey had proposed as Chair of the Special Committee. The same is true
                    7 with respect to Koffey’s falsehoods about Mr. Kiani’s compensation – he is in no
                    8 way “enriching” himself. Specifically, Mr. Kiani has not put any cash towards the
                    9 Potential Joint Venture and has never expressed any intent to invest. Moreover,
               10 Masimo has announced that Mr. Kiani will remain as Chair and CEO of Masimo,
               11 so no payments will be triggered under his employment agreement.
               12            165. In addition to the above false and misleading information and
               13 omissions, the Politan Proxy Materials omit to include the Politan Directors and
               14 Nominee Defendants’ plans for the Company and the Potential Joint Venture,
               15 including, but not limited to, whether they would continue with negotiations with
               16 the Potential Joint Venture partner. These omissions make it impossible for
               17 stockholders to make an informed decision on how to vote at the 2024 Annual
               18 Meeting.
               19            D.     False and Misleading Statements and Omissions Regarding
                                    Kiani’s Employment Agreement
               20
                             166. Since at least 1996, Mr. Kiani has had an employment agreement with
               21
                       Masimo containing provisions relating to a change-in-control of Masimo and
               22
                       whether Mr. Kiani has “Good Reason” to end his employment. The agreement, as
               23
                       amended, provides that Mr. Kiani would receive 2.7 million RSUs if he terminated
               24
                       his employment on account of “any diminution in [his] responsibilities, duties or
               25
                       authority,” including ceasing to serve as CEO or chairman.
               26
                             167. Previously, the trigger for a change in control was if more than a one-
               27
                       third of the Board changed in a 24-month period. Politan challenged the
               28
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                    1 employment agreement in its previous proxy fight. Politan recognized that the
                    2 change-in-control provision would be triggered if two members of Masimo’s then-
                    3 five-person Board were replaced in the election and asked the Delaware Court of
                    4 Chancery to hold it unenforceable. In response, Mr. Kiani agreed to waive it for
                    5 the purposes of the 2023 proxy fight. Mr. Kiani and the Board then agreed, among
                    6 other things, that the relevant trigger for a change-in-control would be a change in
                    7 a majority (not one-third) of the Board over a 12-month (not 24-month) period, and
                    8 that Politan’s nominees in 2023 would be deemed to have begun their service at
                    9 the start of the 12-month period.
               10             168. Although dropping its previous suit challenging the employment
               11 agreement, Politan now baselessly claimed to stockholders that the change-in-
               12 control provisions relating to the board composition are unenforceable. Politan has
               13 also claimed that even if Mr. Kiani is voted off the Board and ceases to be
               14 chairman of Masimo, and he terminates his employment at Masimo for Good
               15 Reason, Politan can “cure” his termination, and thus avoid granting Mr. Kiani
               16 RSUs, by offering to reappoint him as chairman.
               17             169. Specifically, the Politan Definitive Proxy states on page 19:
               18                   The Politan Parties believe that the director change of
                                    control provisions in the Employment Agreement are
               19
                                    unenforceable. Further, if Mr. Kiani is not reelected at the
               20                   2024 Annual Meeting, the Politan Parties believe that
                                    offering to reappoint Mr. Kiani to the Board as Chairman
               21
                                    within thirty (30) days would satisfy the cure provisions in
               22                   the Employment Agreement, regardless of whether he
                                    accepts the offer.
               23
                              170. The statements contained in ¶ 169 are false and misleading. Unlike
               24
                       the election last year, if the Nominees Defendants are elected to the Board, a
               25
                       different aspect of the Good Reason provision of Mr. Kiani’s employment
               26
                       provision will be implicated. This is because Mr. Kiani is entitled to terminate his
               27
                       agreement for Good Reason if he “ceas[es] to serve as the Chairman of the Board.”
               28
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                    1 If both Nominees Defendants are elected, Mr. Kiani will obviously cease to be
                    2 chairman: he will not even be a director. Mr. Kiani will therefore have the right to
                    3 resign and receive, immediately, the RSUs that he was granted under the terms of
                    4 the agreement entered into in 2015. Mr. Kiani told Koffey that he will not return if
                    5 the shareholders vote him out of power, as he is committed to respecting their
                    6 decision.
                    7         E.     False and Misleading Statements and Omissions Regarding the
                                     Comprehensive Information Provided to the Politan Directors
                    8
                              171. The Politan Proxy Materials state that the Politan Directors were
                    9
                        never “onboard[ed],” did not receive “basic information,” were “denied…access to
               10
                        management,” and were excluded from Board meetings. Politan Definitive Proxy
               11
                        at 6-7; see also Investment Letter at 2; Politan Investor Presentation at 6.
               12
                              172. These statements were materially false and misleading because,
               13
                        contrary to the Politan Proxy Statements’ assertion, the Politan Directors were
               14
                        afforded an extensive and customary series of onboarding briefings and
               15
                        information, including among other things, (i) extensive Board-related information,
               16
                        including copies of all Board and Board Committee meeting minutes, quarterly
               17
                        financial updates, Board books dating back to 2021, a Board calendar, a list of
               18
                        Board Committees and members, a list of Masimo’s consultants and amounts paid
               19
                        for 2022 and 2023, all Board policies and procedures, a signature authority matrix,
               20
                        a director search status report from Masimo’s independent director search firm,
               21
                        forecasts and results by product platform for 2021 and 2022, and forecasts by
               22
                        product platform for 2023; (ii) engagement letters with Masimo’s independent
               23
                        financial advisor, director search firm, and an organizational chart for Masimo’s
               24
                        healthcare business; (iii) updates on litigation; (iv) a half-day meeting with Mr.
               25
                        Reynolds and the then-Chairman of the Audit Committee; (v) an hour-long
               26
                        meeting with Masimo’s independent financial advisor managing the strategic
               27
                        alternatives review process; and (vi) a meeting with Mr. Kiani and Mr. Reynolds
               28
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                    1 with an extensive presentation regarding Masimo’s past, present, and 5-year
                    2 product and partnership roadmap. The Politan Directors’ onboarding also included
                    3 a number of meetings with key leaders and certain Company outside advisors,
                    4 during which Koffey and Brennan had every opportunity to ask questions and
                    5 obtain additional information about Masimo. Mr. Kiani even invited Koffey and
                    6 Brennan to an all-day meeting, where he personally walked through Masimo’s
                    7 business, product road map, competitors and strategic plans.
                    8        173. After the onboarding process, the Politan Directors also received: (i)
                    9 thousands of pages of information about Masimo’s financial plans for 2024
               10 through 2033; (ii) details regarding Masimo’s quarterly closing procedures; (iii) a
               11 detailed walk through of financial statements, including details and discussions of
               12 income statement, balance sheet, and cash flow statement items; a regulatory and
               13 quality review; (iv) Masimo’s compliance policies and related information
               14 regarding whistleblower history, significant accounting matters, SOX compliance
               15 program, and internal audit function; and (v) information related to a number of
               16 other specific accounting, business, and finance items including sensor discounts,
               17 debt covenants, inventory valuation, the Sound United impairment analysis, details
               18 on consumer efforts spending, and Malaysia operations.
               19            174. Koffey claims that once on the Board, the Politan Directors were
               20 never provided certain information related to Masimo, including financial
               21 information they claimed that they needed to sign off on Masimo’s financials and
               22 other corporate documents.
               23            175. Politan Definitive Proxy states:
               24                  When the Audit Committee was asked to sign off on the
                                   Quarterly Report on Form 10-Q for the second and third
               25
                                   quarter of 2023 and first quarter of 2024, Mr. Koffey
               26                  declined in each case to do so, believing that, despite the
                                   numerous requests, he had not received sufficient
               27
                                   financial and operational information regarding the
               28
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                    1               Company to fully evaluate the information and analysis
                    2               presented in the report.

                    3    Id at 7.
                    4
                              176. The Politan Definitive Proxy also asserts:
                    5
                                    On February 26, 2024, the Board met to discuss and
                    6               finalize the Company’s Annual Report on Form 10-K for
                    7               the fiscal year ended December 30, 2023 (the “2023
                                    Annual Report”). The Company’s management team
                    8               discussed a draft of the 2023 Annual Report with the
                    9               Board, but following such discussion, a majority of the
                                    independent directors of the Board were unwilling to
               10                   sign the 2023 Annual Report until additional
               11                   information that Board members had repeatedly
                                    requested was provided.
               12
                                    On February 27, 2024, the Board reconvened to discuss
               13                   the 2023 Annual Report in advance of the filing deadline.
               14                   In one hour, brief presentations were made by the heads of
                                    Finance & Accounting, Cybersecurity, Compliance,
               15
                                    Quality, and Supply Chain. This was the first time that the
               16                   full Board heard from these groups. The 2023 Newly-
                                    Elected Directors believed there was insufficient time for
               17
                                    questions. At the conclusion of the management
               18                   presentations, a majority of the Board signed the 2023
                                    Annual Report, but the 2023 Newly-Elected Directors
               19
                                    remained unwilling to approve the document given what
               20                   they viewed as the extremely abbreviated nature of the
                                    presentations on important topics that raised concerns and
               21
                                    about which there was not time for discussion or
               22                   questions.
               23
                        Id.
               24
                              177. The Politan Definitive Proxy further claims that:
               25
                                    The Company’s 2023 Annual Report disclosed a $10
               26                   million impairment with respect to the Sound United
               27                   business segment (less than 1% of the purchase price). As
                                    a member of the Audit Committee, Mr. Koffey asked to
               28                   review the impairment analysis multiple times. To date,
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                    1               he has never been able to review the Company’s
                    2               impairment analysis and does not know why only $10
                                    million of impairment has been taken.
                    3
                        Id.
                    4
                    5         178. The Politan Definitive Proxy also claims that:

                    6               In late 2023, the 2023 Newly-Elected Directors began
                                    asking to see a draft budget for FY 2024 so that the Board
                    7
                                    could review and comment prior to being asked for their
                    8               approval. They were informed that no budget approval
                                    was required. The only budget information the 2023
                    9
                                    Newly-Elected Directors were ever subsequently given
               10                   was the same financial guidance provided publicly to the
                                    market. No draft or final budget was ever provided to the
               11
                                    Board…Following the dramatic decline in sales during the
               12                   second quarter of 2023, the 2023 Newly-Elected Directors
                                    asked to speak with the head of U.S. sales for the
               13
                                    Company’s professional healthcare business. To date, they
               14                   have never been able to speak with such executive and
                                    therefore have not been able to adequately learn about the
               15
                                    discounting and bulk orders whose discontinuation appear
               16                   to have dramatically impacted sales starting in the second
                                    quarter of 2023… Following the dramatic decline in sales
               17
                                    in the consumer division, the 2023 Newly-Elected
               18                   Directors asked to speak with the head of the Company’s
                                    consumer division. To date, they have never been able to
               19
                                    speak with such executive other than to hear him present
               20                   for approximately half an hour at a February 2024 Board
               21                   meeting.

               22 Id. at 7-8.
               23
                          179. The Politan Definitive Proxy then states that:
               24
                               From when they first joined the Board and regularly
               25              thereafter, the 2023 Newly-Elected Directors asked for
                               information on research and development (“R&D”)
               26
                               spending so they could understand how much was being
               27              spent on what initiatives. To date, they have never
                               received any information on R&D beyond the publicly
               28
                               disclosed consolidated R&D number disclosed in the
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                    1              Company’s quarterly reports and 2023 Annual Report.
                    2              The 2023 Newly-Elected Directors made similar requests
                                   about cost of goods sold and selling, general, and
                    3              administrative expenses and have similarly received no
                    4              more detailed information than what has been publicly
                                   disclosed in the Company’s quarterly reports and 2023
                    5              Annual Report.
                    6 Id. at 8.
                    7        180. Finally, the Politan Definitive Proxy claims that “[t]he leadership of
                    8 the Board refused to provide Ms. Brennan and Mr. Koffey basic information or
                    9 access to management, repeatedly held meetings of directors excluding them,
               10 and refused to even consider allowing any review of any aspect of strategy,
               11 product portfolio, cost structure, or capital allocation.” Id. at 15.
               12            181. Politan included these claims on page 2 of the Politan Preliminary
               13 Proxy, which states that “Chairman & CEO Joe Kiani refused to give us basic
               14 information or access to management, repeatedly held meetings excluding [us],
               15 and refused to even consider allowing any review of capital allocation or
               16 strategy.”
               17            182. The Politan Investor Letter reiterates these same statements, including
               18 that:
               19                  The Board does not even see, much less approve, a budget,
                                   and information flows to the Board solely at the CEO’s
               20                  discretion. As a result, the Board is uninformed about
               21                  basic financials as well as material risks such as regulatory
                                   inquiries, whistleblower matters and share pledges by the
               22                  CEO.
               23
               24 Investor Letter at 2.
               25       183. The Investor Letter also claims:
                                   No procedures exist for information to reach directors.
               26                  Rather, it is provided solely at Mr. Kiani’s discretion. As
               27                  new directors, our repeated requests for basic information
                                   and meetings with senior management were consistently
               28
                                   denied even in the wake of the stunning Q2 2023 sales
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                    1               decline…The Board was also effectively not informed of
                    2               material risks like the DOJ and SEC investigations, [and]
                                    the whistleblower lawsuit involving sixteen former
                    3               employees.
                    4 Id. at 3.
                    5        184. The Politan Investor Presentation also makes these same falsehoods,
                    6 including that:
                    7              “Board does not even see, much less approve, a budget”;
                    8              “information flows to Board solely at the CEO’s discretion”;
                    9              “Kiani-selected bloc of directors denied any review of any aspect of
               10                    the business or strategy”;
               11                  “the Board is uninformed about basic financials and material risks
               12                    like DOJ/FDA investigations, SEC investigation, [and] whistleblower
               13                    lawsuits”;
               14                  “Ms. Brennan and Mr. Koffey were…continually denied information,
               15                    blocked from meeting management, and effectively excluded from
               16                    Board meetings”;
               17                  Mr. Kiani “denied directors’ requests to meet with management
               18                    outside of CEO and CFO”;
               19                  Mr. Kiani “denied directors’ requests for financial, compliance and
               20                    regulatory information”;
               21                  failed to provide “budget information”;
               22                  failed to give any information on “R&D, COGS, or SG&A”;
               23                  “Mr. Kiani held an emergency Board meeting where brief ~5-10
               24                    minute presentations were made by the heads of Finance &
               25                    Accounting, Cybersecurity, Compliance, Quality, and Supply Chain
               26                    – the first time the full Board had heard from these groups. There
               27                    was essentially no time for questions…”
               28
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                    1         185. The Second Investor Presentation also repeats that the Board received
                    2 “no information on R&D, COGS, or SG&A beyond public disclosures.”
                    3         186. Finally, the Brennan Letter asserts that the Board is “essentially kept
                    4 in the dark” and is not “adequately informed.”
                    5         187. Politan’s characterization of the information the Politan Directors
                    6 received during their tenure as Board members as laid out in ¶¶ 175 – 186 is
                    7 materially false and misleading for at least the following reasons:
                    8         188. First, Koffey claims that he did not receive enough information while
                    9 on the Audit Committee to sign off on the Quarterly Report on Form 10-Q for the
               10 second and third quarter of 2023 and first quarter of 2024. But Koffey fails to
               11 acknowledge that, as a member of the Audit Committee, he had access to the
               12 Company’s independent auditor, Grant Thornton, and had every opportunity to ask
               13 questions about the Company’s financials during meetings with the auditor.
               14 Koffey also fails to acknowledge that in October 2023, Koffey (and the full Board)
               15 were provided with an Excel file and financial plans for 2024 through 2033 with a
               16 detailed breakdown of Masimo’s revenue by major product line, cost of goods
               17 sold, gross margin, R&D, SG&A, EBIT, EBIT margin, capital expenditures and
               18 working capital for each business (professional healthcare, consumer health and
               19 consumer audio).
               20             189. Koffey omits material information from the Politan Proxy Materials—
               21 in particular, that he was not denied access to information that would assist him in
               22 evaluating the Company’s quarterly reports.
               23             190. Second, the Politan Proxy Materials omit the chronology of what
               24 happened around the time of filing the Company’s Annual Report on Form 10-K.
               25 The Company’s management discussed the draft in detail with the Board, and the
               26 majority of the independent directors confirmed that they would sign the 2023
               27 Annual Report. Koffey and Brennan, in contrast, refused to sign until they
               28 received additional information.
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                    1        191. Desiring a unified front, the Company quickly pulled together the
                    2 requested information. The following day, the heads of Finance & Accounting,
                    3 Cybersecurity, Compliance, Quality, and Supply Chain made presentations to the
                    4 Board to address the Politan Directors’ concerns. Company representatives asked
                    5 Koffey if there was other information he would need to sign the 10-K. Koffey
                    6 responded no, there was no additional information he needed because the
                    7 Company had provided everything he asked for. In fact, he encouraged the non-
                    8 Politan Board members to sign the 10-K. He, however, continued to refuse to sign.
                    9        192. Third, Koffey claims he has never had the opportunity to review
               10 Masimo’s impairment analysis, despite being a member of the Audit Committee
               11 and having unfettered access to the Company’s auditor. In any event, Koffey’s
               12 claim is simply untrue.
               13            193. Fourth, Koffey specifically met with the head of U.S. sales for the
               14 Company, Bilal Muhsin, at least twice in July 2023, rendering his claim that he
               15 was never able to speak with the head of U.S. sales demonstrably false. Further,
               16 Mr. Muhsin presented information to the Board multiple times during Koffey’s
               17 tenure on the Board, and Koffey did not request follow-up or other information
               18 after those presentations. Koffey likewise did not request additional meetings with
               19 Mr. Muhsin during his tenure on the Board.
               20            194. Similarly, Masimo’s head of the Company’s Consumer Products
               21 Business also made presentations to the Board. Koffey again did not ask for
               22 follow-up information, nor did he request an additional meeting with the head of
               23 Masimo’s Consumer Products Business. Koffey’s failure to include these critical
               24 details surrounding his so-called failures to meet with key executives at the
               25 Company are material omissions that render his statements in the Politan Proxy
               26 Materials false or misleading.
               27            195. Indeed, Koffey’s access to information proves he knowingly made
               28 other false and misleading statements, including about Mr. Kiani’s use of the
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                    1 company’s private aircraft. In Politan’s June 26, 2024 presentation, Politan
                    2 wrongly claimed that numerous trips by Mr. Kiani were for personal or vacation
                    3 reasons, when they were in fact work trips. For example, Politan claimed that Mr.
                    4 Kiani took the aircraft for vacation on an 11-day trip to Anguilla, in the Caribbean,
                    5 in August 2023, see Politan Investor Presentation at 81, when in fact this trip was
                    6 to the annual summit for fifty of Masimo’s top sales representatives. At the same
                    7 trip, senior executives held their quarterly business review meeting and met with
                    8 the sales representatives to solicit their feedback. Politan also claimed that trips in
                    9 Spain in July 2023 were for vacation, see id., when in fact there was a single trip to
               10 Spain which was for the purpose of meeting customers, a business trip that directly
               11 led to major sales of wearable products in hospitals. Mr. Kiani paid for all
               12 personal flights himself. Indeed, Koffey was on the Audit Committee during the
               13 time these trips were reviewed and never once raised a question about any of Mr.
               14 Kiani’s use of the private jet for these business meetings. These are completely
               15 false, made-for-proxy fight allegations.
               16             F.    False and Misleading Statements and Omissions Regarding the
                                    Board’s Oversight of a Potential Whole-Company Sale Process
               17
               18             196. The Politan Proxy Materials state that the Masimo Board delegated
               19 authority to management to sell the Company without any further updates to or
               20 approval of the Board.
               21             197. Specifically, on Page 6, the Politan Definitive Proxy states that:
               22                   On Saturday, June 24, 2023, the Board met to delegate
                                    authority to Mr. Kiani to pursue and carry out a sale of
               23
                                    the entire Company without any obligation to provide
               24                   process updates to the Board or to obtain any additional
                                    Board approvals to retain financial or other
               25
                                    advisors…The Company Proxy Statement dates this
               26                   Board decision to after the 2023 Annual Meeting, but it
                                    occurred beforehand without the knowledge or
               27
                                    involvement of Ms. Brennan and Mr. Koffey, despite it
               28                   having at that point been clear that they would almost
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                    1           certainly be elected to the Board in just two days. In fact,
                    2           Ms. Brennan and Mr. Koffey did not even receive a
                                substantive update about the process until the first in-
                    3           person Board meeting, which occurred on October 31,
                    4           2023—more than four months after Mr. Kiani had started
                                the sale process.
                    5
                          198. The Politan Definitive Proxy also states:
                    6
                                At no point in 2023 after the June Board meeting was the
                    7           Board ever presented with any strategic options other
                    8           than a full Company sale. By late October, Mr. Kiani had
                                already engaged financial advisors, contacted multiple
                    9           financial sponsors and held multiple discussions in
               10               connection with a Company sale. Ultimately in January
                                2024, Mr. Kiani told the full Board that he was unable to
               11               find a deal on what he considered to be satisfactory
               12               terms.
               13 Id.
               14         199. The statements referenced in ¶¶ 197 – 98 are false and misleading for
               15 a number of reasons.
               16      200. The Board met on Saturday, June 24, 2023, two days before the 2023
               17 Annual Meeting. But contrary to the Politan Proxy Statements, the Board did not
               18 delegate to management the authority to carry out a sale of the entire Company,
               19 much less the authority to negotiate a sale without any oversight or input from the
               20 Board.
               21         201. Instead, as the June 24, 2023 Board meeting minutes recite, the Board
               22 made a limited delegation of authority to management to retain and coordinate
               23 with a financial advisor in order to explore whether and what strategic options may
               24 be available to Masimo. Specifically, the Board minutes state: “[U]pon a motion
               25 duly made, the Board resolved that the Company continue its evaluation of
               26 strategic transaction opportunities, including a potential sale of the Company or its
               27 assets (in whole or in part) and continue to work with Morgan Stanley as a
               28 financial advisor to explore and evaluate such options. The Board further
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                    1 delegated authority to management to coordinate with Morgan Stanley on the
                    2 process for exploring strategic transaction options, including the solicitation of
                    3 potential third party offers (whether publicly or privately), and authorized
                    4 management to retain additional financial and other advisors to assist with
                    5 exploring and pursuing any such options” (emphases added).
                    6         202. Nowhere—in these Board minutes or any others—did the Board
                    7 delegate to management authority to sell Masimo or any of Masimo’s assets, much
                    8 less without Board approval. Koffey is aware of but omitted this fact, as he was
                    9 provided with these Board minutes for the June 24, 2023 meeting.
               10             203. Further, and contrary to the Politan Proxy Statements, throughout
               11 2023 and into January 2024, Mr. Kiani did not receive any offers, on any terms, for
               12 a sale of the Company. Therefore, the Politan Definitive Proxy’s assertion that Mr.
               13 Kiani told the Board that he was unable to find a deal “on what he considered to be
               14 satisfactory terms” is highly misleading if not outright false. It was not the case
               15 that no deal emerged on “satisfactory terms”; rather, no deal emerged for a
               16 whole company sale at all. Koffey knows this, as the Company’s advisors,
               17 Morgan Stanley, told the Board details about the sales process.
               18             204. Koffey and Brennan were updated about the sale process promptly
               19 after their election to the Board. Koffey began communicating with the
               20 Company’s lead banker at Morgan Stanley on July 11, 2023, just two weeks after
               21 he joined the Board. On August 1, 2023, Koffey and Brennan had a one-hour
               22 Zoom call with the banker in which the banker brought them up to speed on the
               23 sale process. Management was aware that Morgan Stanley was briefing the new
               24 directors.
               25             205. The statement that Mr. Kiani had engaged multiple financial advisors
               26 is highly misleading. Masimo itself, not Mr. Kiani personally, engaged the
               27 Company’s financial advisors, under the Board’s purview.
               28
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                    1         206. Finally, the Politan Proxy Materials are misleading because they omit
                    2 key information regarding Politan’s plans for Masimo, should it be successful in
                    3 the proxy contest. In particular, neither Politan nor Koffey have said anything
                    4 about their plans for the Company if they were to gain control of the Board without
                    5 paying any control premium, including their plans for a sale of either all or part of
                    6 the Company.
                    7             VI.   POLITAN’S NOMINATION NOTICE IS INVALID
                    8         207. A nomination notice, submitted by Politan or anyone else, must
                    9 comply with Masimo’s Bylaws. Specifically, the Bylaws require that
               10 “[n]ominations of persons for election to the Board of Directors and the proposal
               11 of business to be transacted by the stockholders may be made at an annual meeting
               12 of stockholders … by any stockholder of record of the Corporation (the ‘Record
               13 Stockholder’) at the time of the giving of the notice provided for in Section 1(3) of
               14 this Article I who is entitled to vote at the meeting and who has complied with the
               15 notice procedures set forth in this Section 1.” Bylaws Art. I, § 1(2).
               16             208. According to Section (1)(3) of Article I, “[f]or nominations or
               17 business to be properly brought before an annual meeting by a Record Stockholder
               18 pursuant to clause (c) of Section 1(2) of this Article I, (a) the Record Stockholder
               19 must have given timely notice thereof in writing to the Secretary of the
               20 Corporation … and (c) the Record Stockholder and the beneficial owner, if any, on
               21 whose behalf any such proposal or nomination is made, must have acted in
               22 accordance with the representations set forth in the Solicitation Statement (as
               23 defined in clause (c)(iv) of Section 1(4) of this Article I) required by these
               24 Bylaws.” Bylaws Art. I, § 1(3).
               25             209. According to Section 1(4)(a) of this Article I, “[s]uch Record
               26 Stockholder’s notice shall set forth: (a) if such notice pertains to the nomination of
               27 directors, as to each person whom the Record Stockholder proposes to nominate
               28 for election or reelection as a director, all information relating to such person as
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                    1 would be required to be disclosed in solicitations of proxies for the election of such
                    2 nominees as directors pursuant to Regulation 14A under the Securities Exchange
                    3 Act, and such person’s written consent to serve as a director if elected….” Bylaws
                    4 Art. I, § 1(4)(a).
                    5         210. Under the Bylaws, “[t]he chairman of the meeting shall have the
                    6 power and the duty to determine whether a nomination or any business proposed to
                    7 be brought before the meeting has been made in accordance with the procedures
                    8 set forth in these Bylaws and, if any proposed nomination or business is not in
                    9 compliance with these Bylaws, to declare that such defectively proposed business
               10 or nomination shall not be presented for stockholder action at the meeting and shall
               11 be disregarded.” Bylaws Art. I, § 1(4)(c)(v).
               12             211. The Nomination Notice omits to disclose material facts in violation of
               13 Section 14(a) of the Exchange Act and SEC Rule 14a-9: namely, that Koffey,
               14 Politan’s managing Partner and Chief Investment Officer, has been secretly
               15 collaborating with certain plaintiffs’ lawyers in litigation against Masimo’s Board,
               16 jeopardizing Masimo’s position in related litigation in a blatant breach of his duty
               17 of loyalty and other fiduciary obligations to Masimo and its stockholders.
               18             212. By violating Section 14(a) of the Exchange Act as alleged in herein,
               19 the Nomination Notice does not comply with and violates Masimo’s Bylaws.
               20             213. Given the Nomination Notice does not comport with the Bylaws
               21 requirements, the Chairman has the authority to declare that the Nomination “shall
               22 not be presented for stockholder action at the meeting and shall be disregarded.”
               23 Bylaws Art. I, § 1(4)(c)(v).
               24       VII. IRREPARABLE HARM AND INADEQUATE REMEDIES AT LAW
               25             214. Due to Defendants’ violations of Section 14(a) of the Exchange Act
               26 and the rules and regulations promulgated thereunder and Masimo’s Bylaws,
               27 Masimo and its stockholders have been, and will continue to be, irreparably
               28 harmed in the following respects:
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                    1        215. Masimo stockholders are being deprived of the opportunity to
                    2 meaningfully evaluate Politan’s integrity, track record, or proposals for changes to
                    3 be made at Masimo in advance of the 2024 Annual Meeting;
                    4        216. Masimo stockholders are being misled regarding the Company’s
                    5 ongoing initiatives and current Board constitution;
                    6        217. Masimo stockholders may vote their proxies at the Annual Meeting
                    7 based upon the false and misleading information contained in the Politan Proxy
                    8 Materials;
                    9        218. Any votes cast upon the basis of the false and misleading Politan
               10 Proxy Materials may not be undone and post-vote relief may not be available or
               11 adequate; and
               12            219. The false and misleading Politan Proxy Materials will create
               13 confusion, diminish stockholder trust in the notions of fair play.
               14            220. In light of Defendants’ previous and ongoing material
               15 misrepresentations and omissions, on information and belief, Defendants will
               16 continue to disseminate false and misleading information to stockholders in
               17 advance of the 2024 Annual Meeting.
               18            221. Allowing Defendants to continue disseminating false and misleading
               19 information, upon which stockholders may rely, would result in uninformed
               20 stockholder votes that cannot be unscrambled and for which no adequate remedy is
               21 available at law.
               22           VIII. DEFENDANTS’ ACTIONS DEPRESS STOCK AND WASTE
               23                                           RESOURCES
               24            222. Even before the uninformed stockholder votes, Defendants’ violations
               25 of Section 14(a) of the Exchange Act and the rules and regulations promulgated
               26 thereunder and Masimo’s Bylaws as well as the breach of their fiduciary duties
               27 have already had real world consequences.
               28
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                    1         223. Masimo’s stock price was $189.14 on April 28, 2023 before Politan
                    2 and Koffey started their first proxy campaign. When that first campaign ended,
                    3 Masimo’s stock was down 26.38, or nearly 14%, costing Masimo stockholders
                    4 millions in value.
                    5         224. And when Defendants started their second proxy fight, the stock
                    6 dropped another 9% in a single day and has continued to plummet as a result of
                    7 Defendants’ constant lies and attacks, now down to 27% since the start of this
                    8 latest proxy battle.
                    9         225. In addition, Masimo has had to expend significant resources
               10 defending against the various false and misleading claims contained in the Politan
               11 Proxy Materials.
               12                                   IX. COUNT ONE
                           (Violation of Section 14(a) of the Exchange Act (15 U.S.C. § 78n) and
               13       SEC Rule 14a-9 (17 C.F.R. § 240.14a-9), 14a-12 (17 C.F.R. § 240.14a-12), and
                                             14a-101 (17 C.F.R. § 240.14a-101))
               14
               15                                    (Against All Defendants)

               16
                              226. Plaintiff repeats and realleges the above allegations as if fully set forth
               17
                        herein.
               18
                              227. Section 14(a) of the Exchange Act provides that it shall be unlawful
               19
                        for any person to solicit any proxy in violation of SEC rules or permit his name to
               20
                        be used in connection with such a solicitation. 15 U.S.C. § 78n.
               21
                              228. Rule 14a-9 under the Exchange Act, 17 C.F.R. § 240.14a-9, prohibits
               22
                        making a solicitation “by means of any . . . communication, written or oral,
               23
                        containing any statement which, at the time and in the light of the circumstances
               24
                        under which it is made, is false or misleading with respect to any material fact, or
               25
                        which omits to state any material fact necessary in order to make the statements
               26
                        therein not false or misleading.”
               27
                              229. Rule 14a-12 provides that a solicitation may be made before
               28
                        furnishing a proxy statement if each written communication includes the identity of
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                    1 the participants in the solicitation and “a description of their direct or indirect
                    2 interests, by security holdings or otherwise, or a prominent legend in clear, plain
                    3 language advising security holders where they can obtain that information.” 17
                    4 C.F.R. § 240.14a-12.
                    5         230. Item 4 of Rule 14a-101 provides that if a solicitation is made by
                    6 persons other than the registrant (i.e., the company), the Schedule 14A must “give
                    7 the names of the participants in the solicitation,” and “the names of persons by
                    8 whom the cost of solicitation has been or will be borne, directly or indirectly.” A
                    9 “participant” includes “[a]ny person who finances or joins with another to finance
               10 the solicitation of proxies, except persons who contribute not more than $500 and
               11 who are not otherwise participants,” and “[a]ny person who lends money or
               12 furnishes credit or enters into any other arrangements, pursuant to any contract or
               13 understanding with a participant, for the purpose of financing or otherwise
               14 inducing the purchase, sale, holding or voting of securities of the registrant by any
               15 participant or other persons, in support of or in opposition to a participant.” 17
               16 C.F.R. § 240.14a-101.
               17             231. As alleged herein, Defendants violated Section 14(a) of the Exchange
               18 Act and the rules and regulations promulgated thereunder, including Rules 14a-9,
               19 14a-12, and 14a-101 because Defendants filed false and misleading proxy
               20 materials, including but not limited to Politan Proxy Materials, or permitted their
               21 names to be used in connection with such Politan Proxy Materials. Defendants
               22 further failed to disclose material information necessary to make the statements
               23 made in the Politan Proxy Materials not misleading in light of the circumstances
               24 under which they were made.
               25             232. Among other false and misleading statements misrepresentations and
               26 material omissions, the Politan Proxy Materials contain false and misleading
               27 statements about and omit details regarding:
               28
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                    1        Politan Directors’ supposed commitment to acting in the best interests
                    2           of stockholders and maximizing stockholder value, and specifically
                    3           Koffey’s secret relationship with plaintiffs’ counsel in an action
                    4           proceeding against Masimo’s Board;
                    5        Koffey’s proposed terms for a potential spin-off transaction and the
                    6           Politan Directors’ manipulation of the Special Committee;
                    7        the Potential Joint Venture between Masimo and the Potential Joint
                    8           Venture Partner, as well as Koffey’s objections to it;
                    9        the significant risk that the Company may owe Mr. Kiani 2.7 million
               10               RSUs if the Nominees Defendants are elected;
               11            the comprehensive information provided to the Politan Directors, both
               12               during their onboarding and during their tenure on the Board,
               13               including as to how that information relates to the Politan Directors’
               14               refusal to sign any of the Company’s quarterly or annual reports since
               15               joining the Board; and
               16            the Board’s oversight of a potential whole-company sale process.
               17        233. The Politan Proxy Materials were prepared, reviewed, and
               18 disseminated by Defendants.
               19        234. The Politan Proxy Materials are an essential link in Defendants’ effort
               20 to replace certain members on the Masimo’s Board with the Nominee Defendants.
               21        235. By reason of the foregoing, Defendants have violated Section 14(a)
               22 and the rules and regulations promulgated thereunder, including Rules 14a-9, 14a-
               23 12, and 14a-101.
               24        236. Because of the false and misleading statements and material
               25 omissions in the Politan Proxy Materials, Masimo and its stockholders are
               26 threatened with irreparable harm. There is no adequate remedy at law for such
               27 irreparable harm.
               28                                 X.     COUNT TWO
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                    1                       (Breach of Fiduciary Duty of Loyalty)
                    2                  (Against Quentin Koffey and Michelle Brennan)
                    3        237. Plaintiff repeats and realleges the above allegations as if fully set forth
                    4 herein.
                    5        238. As a director of Masimo, Koffey and Brennan’s fiduciary duty of
                    6 loyalty, which includes a duty of disclosure, candor, and good faith when
                    7 requesting stockholder action.
                    8        239. As further detailed herein, Koffey and Brennan breached their duties
                    9 by repeatedly providing false or misleading information, and omitting material
               10 facts, to stockholders through the Politan Proxy Materials, which solicit
               11 stockholder action at the Company’s upcoming annual meeting and director
               12 election.
               13            240. Among other false and misleading statements misrepresentations and
               14 material omissions, the Politan Proxy Materials contain false and misleading
               15 statements about and omit details regarding:
               16                Politan Directors’ supposed commitment to acting in the best interests
               17                   of stockholders and maximizing stockholder value, and specifically
               18                   Koffey’s secret relationship with plaintiffs’ counsel in an action
               19                   proceeding against Masimo’s Board;
               20                Koffey’s proposed terms for a potential spin-off transaction and the
               21                   Politan Directors’ manipulation of the Special Committee;
               22                the Potential Joint Venture between Masimo and the Potential Joint
               23                   Venture Partner, as well as Koffey’s objections to it;
               24                the significant risk that the Company will owe Mr. Kiani 2.7 million
               25                   RSUs if the Nominee Defendants are elected;
               26                the comprehensive information provided to the Politan Directors, both
               27                   during their onboarding and during their tenure on the Board,
               28                   including as to how that information relates to the Politan Directors’
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                    1               refusal to sign any of the Company’s quarterly or annual reports since
                    2               joining the Board; and
                    3             the Board’s oversight of a potential whole-company sale process.
                    4         241. In addition, Koffey and Brennan owed a duty of loyalty that requires
                    5 them to act on a disinterested and independent basis, in good faith, with an honest
                    6 belief that the action is in the best interests of Masimo and its stockholders.
                    7         242. The Politan Directors breached this fiduciary duty by repeatedly
                    8 putting Politan and their interests ahead of those of Masimo. Specifically, Koffey
                    9 and Brennan took repeated steps to try to ensure that Politan would win this second
               10 proxy fight while sacrificing Masimo’s interest and shareholder value.
               11             243. Among other self-interested actions, the following constitute breaches
               12 of their fiduciary duty of loyalty:
               13                 Koffey effected his self-interested scheme to conspire with counsel
               14                   from Wolf Haldenstein to aid the plaintiff in the Derivative Action in
               15                   order to better position himself in his second proxy fight. These
               16                   actions raised the risk that confidential information could be used
               17                   against Masimo in the Securities Class Action and harmed Masimo’s
               18                   and stockholders’ interests;
               19                 Koffey puts his own interests above those of Masimo when he
               20                   sabotaged the very spin-off deal he proposed for Masimo’s Consumer
               21                   Products Business;
               22                 Koffey interfered with the potentially value-maximizing Potential
               23                   Joint Venture by refusing to consider or support the Potential Joint
               24                   Venture until after the annual meeting, presumably to prevent Masimo
               25                   from negotiating a favorable deal that might harm the Politan election
               26                   changes; and
               27                 Koffey and Brennan consciously disregarded their responsibility to
               28                   fulfill their duties as a director, including by abstaining from critical
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                    1              votes and refusing, without basis, to sign Masimo financial
                    2              statements, among other things.
                    3       244. Plaintiff has no adequate remedy at law.
                    4                              XI.    COUNT THREE
                    5                        (Breach of Fiduciary Duty of Care)
                    6                 (Against Quentin Koffey and Michelle Brennan)
                    7       245. Plaintiff repeats and realleges the above allegations as if fully set forth
                    8 herein.
                    9       246. As directors of Masimo, Koffey and Brennan each have a fiduciary
               10 duty of care, which requires directors to perform their functions in good faith and
               11 in a manner that they reasonably believe to be in the best interests of the
               12 corporation.
               13           247. The Politan Directors breached this fiduciary duty by repeatedly
               14 putting Politan and their interests ahead of those of Masimo. Specifically, Koffey
               15 and Brennan took repeated steps to try to ensure that Politan would win this second
               16 proxy fight while sacrificing Masimo’s interest and shareholder value.
               17           248. Among other self-interested actions, the following constitute breaches
               18 of their fiduciary duty of care:
               19                Koffey effected his self-interested scheme to conspire with counsel
               20                  from Wolf Haldenstein to aid the plaintiff in the Derivative Action in
               21                  order to better position himself in his second proxy fight. These
               22                  actions raised the risk that confidential information could be used
               23                  against Masimo in the Securities Class Action and harmed Masimo’s
               24                  and stockholders’ interests;
               25                Koffey puts his own interests above those of Masimo when he
               26                  sabotaged the very spin-off deal he proposed for Masimo’s Consumer
               27                  Products Business;
               28
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                    1          Koffey interfered with the potentially value-maximizing Potential
                    2            Joint Venture by refusing to consider or support the Potential Joint
                    3            Venture until after the annual meeting, presumably to prevent Masimo
                    4            from negotiating a favorable deal that might harm the Politan election
                    5            changes; and
                    6          Koffey and Brennan consciously disregarded their responsibility to
                    7            fulfill their duties as a director, including by abstaining from critical
                    8            votes and refusing, without basis, to sign Masimo financial
                    9            statements, among other things.
               10          249. Plaintiff has no adequate remedy at law.
               11                                  XII. COUNT FOUR
               12          (Breach of Contract – Breach of Company Bylaws – Deficient Notice for
               13       Failure to Furnish Information Required by Exchange Act Section 14(a))
               14                                 (Against Politan Funds)
               15          250. Plaintiff repeats and realleges the above allegations as if fully set forth
               16 herein.
               17          251. The Bylaws constitute a valid and enforceable contract between the
               18 Company and its stockholders.
               19          252. The requirements contained in the Bylaws are unambiguous and valid
               20 under Delaware law.
               21          253. According to the Bylaws, “[n]ominations of persons for election to the
               22 Board of Directors and the proposal of business to be transacted by the
               23 stockholders may be made at an annual meeting of stockholders … by any
               24 stockholder of record of the Corporation (the “Record Stockholder”) at the time of
               25 the giving of the notice provided for in Section 1(3) of this Article I who is entitled
               26 to vote at the meeting and who has complied with the notice procedures set forth in
               27 this Section 1.” Bylaws Art. I, § 1(2).
               28
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                    1         254. According to Section (1)(3) of Article I, “[f]or nominations or
                    2 business to be properly brought before an annual meeting by a Record Stockholder
                    3 pursuant to clause (c) of Section 1(2) of this Article I, (a) the Record Stockholder
                    4 must have given timely notice thereof in writing to the Secretary of the
                    5 Corporation … and (c) the Record Stockholder and the beneficial owner, if any, on
                    6 whose behalf any such proposal or nomination is made, must have acted in
                    7 accordance with the representations set forth in the Solicitation Statement (as
                    8 defined in clause (c)(iv) of Section 1(4) of this Article I) required by these
                    9 Bylaws.” Bylaws Art. I, § 1(3).
               10             255. According to Section 1(4)(a) of this Article I, “[s]uch Record
               11 Stockholder’s notice shall set forth: (a) if such notice pertains to the nomination of
               12 directors, as to each person whom the Record Stockholder proposes to nominate
               13 for election or reelection as a director, all information relating to such person as
               14 would be required to be disclosed in solicitations of proxies for the election of such
               15 nominees as directors pursuant to Regulation 14A under the Exchange Act, and
               16 such person’s written consent to serve as a director if elected…” Bylaws Art. I, §
               17 1(4)(a).
               18             256. Under the Bylaws, “[t]he chairman of the meeting shall have the
               19 power and the duty to determine whether a nomination or any business proposed to
               20 be brought before the meeting has been made in accordance with the procedures
               21 set forth in these Bylaws and, if any proposed nomination or business is not in
               22 compliance with these Bylaws, to declare that such defectively proposed business
               23 or nomination shall not be presented for stockholder action at the meeting and shall
               24 be disregarded.” Bylaws Art. I, § 1(4)(c)(v).
               25             257. The Nomination Notice omits to disclose material facts in violation of
               26 Section 14(a) of the Exchange Act and SEC Rule 14a-9: namely, that Koffey,
               27 Politan’s managing Partner and Chief Investment Officer, has been secretly
               28 collaborating with certain plaintiffs’ lawyers in litigation against Masimo’s Board,
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                    1 jeopardizing Masimo’s position in related litigation in a blatant breach of his duty
                    2 of loyalty and other fiduciary obligations to Masimo stockholders.
                    3         258. By violating Section 14(a) of the Exchange Act as alleged in herein,
                    4 the Nomination Notice does not comply with and violates Masimo’s Bylaws.
                    5         259. Given the violation of the Bylaws, the Chairman has the authority
                    6 under the Bylaws to declare that such “nomination shall not be presented for
                    7 stockholder action at the meeting and shall be disregarded.” Bylaws Art. I, §
                    8 1(4)(c)(v).
                    9         260. Because the Nomination Notice is invalid, Masimo and its
               10 stockholders are threatened with irreparable harm. There is no adequate remedy at
               11 law for such irreparable harm.
               12                                XIII. PRAYER FOR RELIEF
               13             WHEREFORE, Plaintiff respectfully requests that the Court enter judgment
               14 against Defendants as follows:
               15             a.    Declaring that the Politan Proxy Materials on Schedule 14A and all
               16 amendments thereto violate Section 14(a) of the Exchange Act and the rules and
               17 regulations promulgated thereunder, including Rules 14a-9, 14a-12 and 14a-101,
               18 and that they therefore are void;
               19             b.    Declaring that the Nomination Notice does not comply with Masimo’s
               20 Bylaws;
               21             c.    Enjoining Defendants from voting any proxies received by means of
               22 the misleading Politan Proxy Materials;
               23             d.    Issuing an injunction invalidating any proxies Defendants or other
               24 persons acting in concert with them obtained pursuant to the misleading Politan
               25 Proxy Materials;
               26             e.    Issuing an injunction requiring Defendants to correct their material
               27 misstatements and omissions, and to furnish accurate disclosures required by law,
               28 before Masimo’s 2024 Annual Meeting;
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                    1        f.     Awarding Plaintiff costs and fees in this action, including reasonable
                    2 expert and attorneys’ fees; and
                    3        g.     Granting such other relief as this Court may deem just and proper.
                    4                               XIV. JURY DEMAND
                    5        Pursuant to Rule 38 of the Federal Rules of Civil Procedure and Civil Local
                    6 Rule 38-1, Plaintiff hereby demands a trial by jury.
                    7
                    8 Dated: July 15, 2024                       Respectfully submitted,
                    9                                            LATHAM & WATKINS LLP
               10
               11                                                By /s/Michele D. Johnson
                                                                    Michele D. Johnson
               12                                                   Colleen C. Smith
               13                                                     Attorneys for Plaintiff
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                          1                                   VERIFICATION
                          2         I, Joe Kiani, declare:
                          3         I am the founder, Chairman, and CEO ofMasimo Corporation. I have read
                          4 and reviewed the Complaint for Violations of the Federal Securities Laws,
                          5   Breaches of Fiduciary Duty, and Breach of Contract and authorized its filing.
                       6 Based upon my and Masimo's counsel's investigation, the contents of the
                          7 Complaint are true to the best of my knowledge, information, and belief.
                          8         I declare under penalty of perjury that the foregoing is true and correct.


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                              Executed on July 15, 2024 in California.
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                                                                              Joe Kiani
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